 

OPHELIA MUNN-GOINS - VOLUME I

—— SHEET 1 PAGE 1
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
SOUTHERN DIVISION

 

CASE NO. 7:08 CV 21

OPHELIA MUNN-GOINS,
Plaintiff,

vs. DEPOSITION
Board of Trustees of BLADEN
COMMUNITY COLLEGE, DARRELL PAGE,
in his individual and official )
capacity, and DR. KATHRYN GEISEN, in)
her individual and official capacity,
)

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)

Defendants. )

OPHELIA MUNN-GOINS - VOLUME I

TAKEN AT THE LAW OFFICES OF:

FERGUSON STEIN CHAMBERS GRESHAM & SUMTER, PA
312 West Franklin Street

Chapel Hill, NC 27516

11-05-08
02:03 O'CLOCK P.M.

Dale L. Ring
Court Reporter

Chaplin & Associates
P, O. Box 407
Kernersville, NC 27285-0407
(336) 992-1954

 

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ATTORNEY NOTES
PAGE LINE SUBJECT MATTER RELATES TO ACTION

 

 

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APPEARANCES OF COUNSEL

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Chapel Hill, NC 27516

OTHER APPEARANCES
Kay Geisen

Darrell Page
Lloyd Horne

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(Witness' employee application to BBC)
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{BBC full-time employment contracts signed by Witness)

Exhibit Number Three Ms. Shea 77
(BBC part-time employment contracts signed by Witness

Exhibit Number Four Ms. Shea 133
(2004 request for salary information)

Exhibit Number Five Ms. Shea 137
(2006 request to Tiina Mundy for pay information)

Exhibit Number Six Ms. Shea 193
(Spreadsheet showing faculty positions and salaries)

Exhibit Number Seven Ms. Shea 195
(Reprimand of Witness, 5-24-06

Exhibit Number Eight Ms. Shea 199
(Email to Witness from Ms. Sellers)

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(Email between Witness and Mr. Oxendine, 6-7-06

Exhibit Number Ten Ms. Shea 207
(Email between Witness and Ms. Sellers

Exhibit Number 11 Ms. Shea 209
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Exhibit Number 12 Ms. Shea 220
(Request for education leave}

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Exhibit Number 14 Ms. Shea 226
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leave request to BOT)

Exhibit Number 15 Ms. Shea 226
(Email concerning education leave)

Exhibit Number 16 Ms. Shea 227
(Email concerning education leave)

Exhibit Number 17 Ms. Shea 228
(Denial of education leave request by Dr. Geisen)

Exhibit Number 18 Ms. Shea 229
(Detailed explanation of education leave denial

Exhibit Number 19 Ms. Shea 235
{Letter to Dr. Page from Witness asking reconsideration)

Exhibit Number 20 Ms. Shea 238
(Summary of meeting with Dr. Page and Mr. Horne)

Exhibit Number 21 Ms. Shea 240
(Memo to Ophelia Munn-Goins from Dr. Geisen, dated
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Exhibit Number 22 Ms, Shea 241
(Email with Barry Priest about education leave)

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STIPULATIONS

Pursuant to Notice and/or consent of the parties, the
deposition hereon captioned was conducted at the time and
location indicated and was conducted before Dale L. Ring,
Notary Public in and for the County of Forsyth, State of
North Carolina at Large.

Notice and/or defect in Notice of time, place, purpose
and method of taking the deposition was waived. Formalities
with regard to sealing and filing the deposition were
waived, and it is stipulated that the original transcript,
upon being certified by the undersigned court reporter,
shall be made available for use in accordance with the
applicable rules as amended.

It is stipulated that objections to guestions and
motions to strike answers are reserved until the testimony,
ox any part thereof, is offered for evidence, except that
objection to the form of any question shall be noted herein
at the time of the taking of the testimony.

Reading and signing of the testimony was waived.

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EXHIBITS cont...

Name Offered By Identified

Exhibit Number 23 Ms. Shea 246

(Letter of reprimand to Witness, re: drop/add)

Exhibit Number 24 Ms. Shea 249
(Letter of reprimand to another employee, re: drop/add)

Exhibit Number 25 Ms. Shea 251
{Letter of reprimand to another employee, re: drop/add)

Exhibit Number 26 Ms. Shea 252
(Letter of reprimand to another employee, re: drop/add)

Exhibit Number 27 Ms. Shea 252
(Letter of reprimand to another employee, re: drop/add)

Exhibit Number 28 Ms. Shea ~ . 252
(Letter of reprimand to another employee, re: drop/add)

Exhibit Number 29 Ms. Shea 253
(Letter of reprimand to another employee, re: drop/add)

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The witness, OPHELIA MUNN-GOINS, being
first duly sworn to state the truth, the whole
truth, and nothing but the truth, testified as
follows:

(02:03 p.m.)

EXAMINATION
BY MS. SHEA:

Q. Hi, Ms. Munn-Goins. My name is Robin
Shea, and we've met before. And I represent the
10 defendants in the lawsuit that you filed against
It the Bladen Community College Board of Trustees and
12 Kate Geisen and Darrell Page. And I'm going to be
13 taking your deposition today. Have you ever had
id your deposition taken before?

15 A. No.

16 Q. Okay. I'm sure Mr. Gresham has

1 explained to you some of the procedure, but I'll
18 be asking you some background questions and then
19 some questions more directly relevant to your

20 ~— lawsuit.

21 And if you want to take a break at any
22 point today, please feel free to do that. Just
23 say so. If you don't understand a question that I
24 ask,

25 let me know, and I'll rephrase it so that you do
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understand it.

I sometimes have a tendency to cut
people off when they're not finished answering.
And if I do that, I apologize. I don't mean to be
doing that. And if you will remind me that you
were still answering, I'll give you a chance to
give me a full answer. Okay?

The court reporter will be taking down
everything that you say and that I say, and so if
you can answer yes or no out loud rather than
nodding or shaking your head, that would be
helpful to him.

A. Okay.
Q. Okay, And you do understand you're

 

  
   
  
   
 
   
  
   
   
   

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under oath today, right?
A. Yes,
Q. Okay.

MR. GRESHAM: Speak a little louder
so that they can hear you. There's a bad echo in
here.

MS, SHEA: Okay.

Q. (Ms. Shea) Can you state your full name
for the record, please?

A, Ophelia Munn-Goins.

Q. No middle name?
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A, ‘That's my full name,

Q. Okay. Munn is -- is Munn your maiden
name?

A. Yes. And my last name.

Q. And can you give me your current
address?

A. 927 Graham Road, Riegelwood.

Q. And can you speli that ---

A, R---

Q. --> town?

A, R-i-e-g-e-l-w-o-o-d, North Carolina
28456.

Q. Okay. And what is your current
telephone number?

A. Area code 910-655-1611.

Q. You're married, right?

A. Yes.

Q. Okay. And is your husband's last name
Goins?

A. Yes,

Q. Okay, what's his full name?

A. Donell Goins.

Q. And can you spell Donell?

A. D-o-n-e-i-1.

Q. Does he have a middle name?
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1 A. That's his full name.
2 Q. Okay. And how long have you been
3s married to Mr. Goins?
4 A. Eleven years.
5 Q. Have you ever been married before?
6 A. No.
7 Q. And do you all have children?
8 A. Yes,
9 Q. How many?
10 A. ‘Two -- oh, excuse me, three.
i Q. And can you give me their names and
12 ages, please?
3 A. He has a daughter. Do you want our or
4 his?
15 Q. Oh, his child, okay. You have a
16 stepchild?
17 A, Right.
18 Q. Okay. Yes, can you give me the
19 stepchild's name?
20 A. Nidon, N-i-d-o-n, Goins,
21 Q. And how old is Nidon?
22 A. 30.
23 Q. And where does Nidon live?
24 A. San Antonio, Texas.
25 Q. Nidon is a male, right, a son?
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1 A. Female.
2 Q. Oh, female, I'm sorry, And is Nidon
3 married?
4 A. No.
5 Q. Okay. And then who's the next child?
6 A,  Tyrus Goins, T-y-r-u-s.
7 Q. And is Tyrus your child?
§ A. Our child.
9 Q. Okay. I meant you as a couple, you and
10 = Mr. Goins?
1 A. Yes.
2 Q. Okay. And how old is Tyrus?
13 A. Eleven.
14 Q. So he's living with the two of you now?
15 Okay, is he in the sixth grade?
16 A, Fifth.
7 Q. Fifth. And who's the other child?
18 A. Ashanti, A-s-h-a-n-t-i, Munn-Goins.
19 Q. And is Ashanti a girl or a boy?
20 A. Girl.
21 Q. Tyrus I assume was a boy, right?
22 A. Yeah.
23 Q. Okay. And how old is Ashanti?
2t A. Six.
25 Q. Is she in first grade?
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1 A. She is.
2 Q. And she lives with you and Mr. Goins?
3 A. Yes.
4 Q. Okay. Now, were you elected to the
5 school board last night?
6 A. Re-elected, second term.
7 Q. Re-elected?
8 A. Yeah.
9 Q. Okay, congratulations.
10 A. Thank you.
ia Q. Is that a job? Do you get paid for
12. doing that?
13 A. You get a stipend for gas and travel,
14 expenses like that.
15 Q. So you're not paid for any of your
16 time ---
7 A. No.
18 Q. -- working on the school board?
19 A. No.
20 Q. And your father, is your father alive or
21 — deceased?
22 A. Deceased.
23 Q. And was he fairly prominent in your
24 community?
25 A. Yes.
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1 Q. Okay. What is your father's name?

2 A. Charles Munn, Jr.

3 Q. And when did he die?

4 A. November 1999,

3 Q. And was he active in politics?

6 A. Yes.

7 Q. What exactly did he do?

8 A, He was an activist.

9 Q. He was an activist? Was he associated
10 with an organization?
11 A. Yes. You mean work or political?
12 Q. Right now political, just talking about
13. political.
14 A, Bladen Improvement Association.
15 Q. What was it called, Bladen?
16 A, Bladen Improvement Association.
17 Q. Was he the head of that organization?
18 A, He was the president for a while.
19 Q. And what was the purpose of the Bladen
20 Improvement Association?
21 A, It is an organization that was
22 established under the federal law. It's mostly --
23. sit has a PAC, Political Action Group and mostly to
24 ensure that minorities are represented.
25 Q. Okay. Minorities are represented where?

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1 A. In the county.
2 Q. In government?
3 A. In government.
4 Q. Okay.
3 A. Yes.
6 Q. Okay. Is his role as the founder, is
7 that correct, call him the founder of that
8 organization?
J A. No.
10 Q. Okay.
il A. I -- he ---
12 Q. Then the president?
13 A. He was president for -- back in the late
14 80s or early 90s.
15 Q. Do you know for about how many years?
16 A. No.
i] Q. Okay. In that capacity, did he -- I'm
18 trying to think how to say this. Did he help
19 create publicity if he perceived or his
20 ~—s organization perceived ---
21 A. I don't know.
22 Q. ~--- that there -- you don't know?
23 A. Iwasn't here. I don't know.
24 Q. Okay. Where were you?
25 A. I-- it depends what time of the year,
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1 what year. I was someplace else in the world.
2 Q. During the time that he was president of
3s the ---
4 A, Right.
5 Q. --- Bladen Improvement Association?
6 A. Yes,
7 Q. Okay, yes what?
8 A. I was someplace else in the world. If
9 it was in '88, I was in Texas. Jf it was in ‘90,
10 I was in Virginia.
Il Q. Okay, Well, I'll tell you what, why
2 don't we go back through where you've lived? It
13 sounds like that might be helpful. You're retired
14s military, right?
15 A. Yes,
16 Q. Is that why you were moving around a
iv) lot?
18 A. Yes.
19 Q. Okay. I hate to go back this far, but
20 starting with, did you graduate from high school
21. sin 1975?
22 A. Yes,
23 Q. Okay. Starting from '75 forward, can
24 you give me, if you don’t remember the exact
25 street address, just the towns and states or
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1 countries you lived in.

2 A, 1975 to 1980 I lived in Winston-Salem,
3 North Carolina.

4 Q. Were you attending Winston-Salem State
5 at that time?

6 A. Yes.

7 Q. Okay.

§ A, From 1981 from January to May, I lived

9 in Riegelwood, North Carolina.

 

 

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10 {Off-record comments}
1 A. Riegelwood. Home, I moved home.
12 From July of '81 until August of '81, I
13 lived in San Antonio, Texas.
14 Q. August of '82?
15 A. One.
16 Q. From duly -- for one month?
1] A. Well, it was like eight weeks I lived in
18 San Antonio, Texas,
19 Q. Okay,
20 A. From August -- September '81 until
21. August of '82, I lived in Korea.
22 Q. Where in Korea?
23 A. Camp Casey,
24 Q. Is that in a city, or near a city?
25 A, Tongduchon, the city 1s Tongduchon.
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1 Q. Okay.
2 A. The camp. Uh-huh (yes).
3 THE COURT REPORTER: Can you spell
4 that?
5 THE WITNESS: No. 0-U-N-G-K-U-S-N
6 (sic) -- something.
] (Off-record comments)
8 THE WITNESS: From August of 1982
9 to November I lived in -- oh, until May -- can I
10 skip the intermediate two weeks or months, six
11 months?
12 Q. (Ms. Shea) If you could just say, you
13 know, there was a period at such and such a spot
14 where I don't remember where I was.
1b A. Where I know where I was.
16 Q. Feel free to say that.
17 A. Okay.
18 Q. But if you can designate the time period
19 as much as possible, that would be good.
20 A. From August of '82 until September of
ai 'Q) San Antonio, Texas. No, that's not -- that's
22 not correct. That's not correct. From '82 to
23 ‘November -- in November of '82 until July or
24 ~— August of '84, I was in Herlong, California.
25 Q. Okay.
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1 A. August to November I was in San Antonio.
2 And then November of '82.
3 Q. August to November of 1982 you were in
4 San Antonio?
5 A. Right.
6 Q. Okay. I'm probably going to have to
7 slow you down a little bit.
§ A. Okay.
9 Q. But -~ okay. So then from -~ now we're
10 on November of '82 forward.
in A. Okay.
12 Q. Until when?
13 A. I'll say June '84, I was in Herlong,
14 California.
15 Q. Is that #-u-r?
16 A, Hee-r,
W Q. Hre-r, Okay.
18 A. And then from July of '84 until maybe
19 June '86, I was in Vicenza, Italy.
20 Q. Okay.
21 A. From July-August '86 until November
22 1987, I was in Wurzburg, Germany.
23 Q. Okay.
24 A. From Noverber '87 until April, I think
25 —-'88, I was in San Antonio, Texas,
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] Q. So you've got three separate times so
2 far that you've been in San Antonio ---
3 A. I was ---
4 Q.  --- right?
5 A, --- back there again.
6 Q. Okay.
7 A, What month did I give you?
8 Q. April '88 was the end month.
9 A, Then I think May of '88 until August of
10 "89, I was at Fort Drum, New York.
\ il Q. Okay.
12 A. From August '89 until September 1990,
13 San Antonio, Texas.
14 Q. Were you at Fort Sam Houston?
15 A. I was.
16 Q. Ah. That's where my dad was when I was
17 born.
18 A. Okay. Big place. Wonderful. From, I
19 think it was October -- September time frame of
20 "90 until March 1991, I was in Saudi Arabia.
21 Q. Now, I can't -- I remember the first
22 ~—« Gulf War started around that time. Were you there
23 for part of the war?
2t A. I was.
25 Q. Okay.
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1 A. Until it was over.

2 until June 1991, I was in San Antonio, Texas.
3 June or July 1991 to August '91, I was in

4 Riegelwood, North Carolina. From August 1991
5 until August 1993, I was in Pittsburgh,
6

7

8

Page 21
The end of March

Pennsylvania.
Q. And is that when you were attending the
University of Pittsburgh?

9 A. Yes,
10 Q. Okay.
i] A. From August 1993 until October 1996, I

12s was in Washington, DC. I lived in Maryland, but
13. - when I worked I lived -- lived in Silver Spring,

14 Maryland,
1) Q. Okay.
16 A. October '96 until December 1998, I was

17 — in Columbus, Georgia. January 1999 until December
18 2001, T lived in Alexandria, Virginia. January
19 199 -- excuse me, that was 2001. From January

20 2002 to present, I was in Riegelwood, North

21 Carolina,

22 Q. Okay. And you were hired to work at

23. ~—- Bladen Commmity College in 2002, right?

24 A. Yes.

 

 

20 Q. Okay. Now, except for the 2002 forward
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1 part, were you in the military during this entire
2 time from high school until --

3 A. From college.

4 Q. From college, okay. So when you lived
3 in Winston-Salem you were not in the military yet?
6 A. No.

7 Q. Okay. And then you retired from the
8 military immediately before going to work at

9 Bladen Commnity College?

10 A, While I worked -- I worked there part
11 time while I was still on active duty.

12 Q. Okay.

13 A. Twas on leave.

14 Q. When did you first start?

15 A, January 2002.

16 Q. Okay. So you were hired as a part-time

i] instructor at that time?

18 A. Yes.

19 Q. And when did you retire from the

20 ~~ military?

21 A. February 1, 2002.

22 Q. And I guess if you were at Fort Sam

23 Houston, you were in the Army, right?

24 A. Yes.
25 Q. Okay. And you were a lieutenant
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1 colonel?

2 A. Retired as a lieutenant colonel.

3 Q. You -- that was your rank when you
4 retired, right?
9

6

7

§

 

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A. Yes,

Q. Are you currently employed?

A. No.

Q. In addition to your involvement as a
§ member of the school board, are you active in
10 = politics at this time in any way?
11 A. Do you mean do I support other
12 candidates? Do I work with the candidates? Do
3.00 I ---
ld Q. Yes, do you -~ I mean, not just do you
1b vote, or are you rooting for someone to win an
16 election. But do you work for candidates, or do
1] - you campaign, or do you do any commmity activism?
18 = Anything like that?

19 A. Well, I'm a community activist, yes.
20 Q. Okay. Can you describe your commnity
21 activist activities?

22 A. help senior citizens get medicine. I

23 help them with housing issues. Help students try
24 ~~‘ to find money for college.
25 Q. All right. Do you -- well, let me ask

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1 you about the work you do with senior citizens, is
2 that as part of an organization?

3 A. No.

4 Q. You just do that ---

5 A. Oh, yeah, for senior citizens? Yes, it
6 is,

7 Q. Oh, okay. What's the organization?

8 A. The Lumber River Counsel of Government

9 Aging Advisory.

10 Q. ‘The Lumber River Counsel of Government?
ll A, Aging Advisory Committee on Board.

2 Q. Agent, a-g-e-n-t?

13 A. A-g-i-n-g, Aging.

14 Q. Oh, Aging. I'm sorry. Okay.

1h A. For housing, I help them do that.

16 Q. And do you have a position -- do you

iv have @ position title with that organization?
18 A. No.

19 Q. Are you a volunteer?

20 A. Yeah.

21 Q. You don't get paid for what you do?
22 A. No.

23 Q. Okay. And all your work that you've

24 described with senior citizens is through this
29 organization?
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1 A. Yes.
2 Q. The medicine and the housing?
3 A. Yes.
4 Q. Okay. And what exactly do you do in
5 trying to find senior citizens medicine and
6 housing? Do you go through governmental agencies?
7 A. Idid. I don't now. Now, I'm not doing
§ that much. I was.
§ Q. Oh okay. When were you doing it?
10 A, From 2002 until maybe 2006-2000 -- early
11 2007,
12 Q. And was there a reason you stopped doing
13. it?
4 A. I haven't gotten any calls,
15 Q. Oh, so they call you and ask you. They
16 call you if they need you? Okay.
i A, Yes.
18 Q. Yes.
19 (Off-record comments)
20 Q. And then as far as helping students find
21s money for college, is that for an organization?
22 A. Yes.
23 Q. And whose -- what's the organization?
24 A. Charles and Eva Munn Foundation.
25 Q. And is that foundation named for your
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1 father?
2 A. Yes, and mother.
3 Q Oh, okay. I thought you said Charles £.
4 Munn?
i A. Charles and Eva Munn Foundation.
6 Q. Okay. And does that -- were you a
7 founder of that foundation?
§ A. Yes,
g Q. Did you found it with anybody else?
10 A. Community -- couple community members,
it cousins ---
12 Q. Who ---
13 A. --- siblings.
14 Q. --- were they?
15 A. Lanna Carter, Kathleen Munn, Dr. Blanks
16 = -- Delilah Blanks.
1] MS, SHEA: Off the record.
18 (Off record)
19 Q. (Ms. Shea) Okay, Lanna Carter, is she a
20 relative of yours?
21 A, Cousin.
22 Q. And Kathleen Munn?
23 A, Sister.
24 Q. And is it Ms. Blanks or Dr. Blanks?
25 A. Doctor.

 

 

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1 Q. Okay. What is she?
2 A, Commission, Commission, county
3 commissioner.
4 Q. County commissioner? Okay. Anybody
5 else?
6 A. I'm sure, but I can't think of them now.
7 Q. Is there a board of directors for
8 that ---
9 A. There is,
10 Q. I'msorry. I probably should've told
11 you this before we started, but I can tell you
12 talk a lot faster than I do, and you'ze probably
13 going to have to wait for me to finish my
14 question, so the court reporter can get down what
15 I'm asking you and what you're answering. Okay.
16 It'll probably drive you crazy because I talk
iv slow. I'm from the Midwest.
18 Okay. Who's on the board of directors
19 for this organization?
20 A. Tam.
21 Q. Anybody else?
22 A. Kathleen Munn,
23 Q. Is her name spelled with a K or a C?
24 A. Xk. Wanda Daniels,
25 Q. Is Wanda Daniels a family member?
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Ophelia Munn-Goins - Volume I Page 28
1 A. No.
2 Q. What's your relationship to her, if any?
3 A. None.
4 Q. No relationship?
5 A. No.
6 Q. How did she get on the board?
] A, She was in the community and willing to
8 work or assist.
9 Q. Did you ask her to be ---
10 A. Yes.
Ul Q. --- on the board?
12 A, I did ask her.
13 Q. Was she a volunteer before you asked
i her ---
15 A. Yes,
16 Q. -- to join the board? So you were all
17 were doing this work before you incorporated, is
18 that ---
19 A. Yeah. When we start to incorporate, we
20 started working together. So once it was
21 incorporated and I explained to her what we were
22. doing and she started working with us, and then
23. she agreed to be a member of the board.
24 Q. Okay. So would it be fair to say she
25 joined the board a little later than some of the
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1 others? You were a founding member, right, so you
2 were on the board from the beginning?
3 A. Yes.
4 Q. And would the same be true of Kathleen?
5 A. Yes,
§ Q. Did Wanda join at a later time?
1 A. ‘The answer would have to be yes, but she
§ was on the board when the initial board was
g established, she was a member.
10 Q. Okay. So she was on the board from the
ia very beginning?
12 A. Yes.
13 Q. Okay. So you all -- before you formally
14 created a board, you weze doing work. Is that
15. right? You were doing this service work through
16 the ---
iv A. No.
18 Q. Okay. Well, how did you know Ms.
19 Daniels?
20 A, Oh, she was in my neighborhood. She's a
21 ‘friend.
22 Q. A friend? Okay.
23 A. Yeah. She's in the neighborhood.
24 Everyone's from the neighborhood except one person
29s ROW,
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1 Q. But she -- okay, okay. Anybody else on
2 the board?

3 A, Currently?

4 Q. Yes.

5 A. Or before?

6 Q. Well, right now I'll ask currently.

7 A, Linda Miller.

8 Q. And is she a relative?

9 A. No.

10 Q. Is she a neighbor?

il A. A member of the community.

12 Q. And how do you know her?

13 A, I've been working for her in church and

14 other places.

1b Q. Do you know her primarily through your

16 church?

Y A. I know her from school.

18 Q. You all were classmates?

19 A. No, she's ahead of me, a year ahead of

20 some.

21 Q. Okay. Did you go to high school

22 together ---

23 A, Elementary ---

24 Q. --- in different ---

25 A. --- went to school together. I went ---
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Ophelia Munn-Goins - Volume I Page 31
1 Q. You went to elementary school together?
2 A, All the way through.
3 Q. She didn't go to Winston-Salem State,
ul did she?
9 A. No. Public school,
6 Q. Okay. You went all the way through high
7 school together, but she was a year ahead of you?
8 A. Yes, Wanda McCoy.
y Q. And how do you know her?
10 A. I know her from growing up and church.
ul Q. Did you all go to school together?
2 A. No.
B Q. dust through church?
14 A. Through church and then I met her at BCC
15 again. We were reacquainted at BCC.
16 Q. And what -- does she work at BCC?
1] A, She's a student.
18 Q. Was she one of your students?
19 A. Yes,
20 Q. And do you remember approximately when
21 she was your student?
22 A. From 2003 to 2006.
23 Q. So she was your student for multiple
24 years?
25 A. Yes.
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—— PAGE 32
Ophelia Munn-Goins - Volume I Page 32
1 Q. Any other current board members?
2 A. That's current.
3 Q. ‘That's the entire current board?
4 A, Yes.
5 Q. And then the original founding board?
6 A. Naomi Miller.
7 (Off-record comments)
8 A. Naomi Miller.
9 Q. And how do you know Ms, Miller?
10 A. From the community.
il Q. How, exactly, do you know her through
12 the community?
13 A. She works at BCC satellite campus.
14 Q. Okay. Which campus would that be?
1b A. East Arcadia.
16 (Off-record comments)
1] A. East Arcadia,
18 Q. Is that how you met her?
19 A. No, I grew up with her. I mean, I've
20 known her all my life.
21 Q. Okay, she's another one -- did you go to
22 school with her?
23 A. No, she's from a different town. She's
24. -- I just know her.
25 Q. Okay.
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1 A. I grew up with her in the area so.
2 Q. Do you all go to the same church?
3 A. No.
4 Q. Okay. And she is no longer on the
5 board, is that right?
6 A, That's correct.
] Q. Do you know why she left the board?
8 A. No.
g Q. Do you have terms for board members? i
10 A. Yes.
1 Q. What's the term?
12 A. Three years unless you're appointed.
13 Q. Did she leave at the end of her
14 three-year term?
15 A. No.
16 Q. Did -- she left before the end of her
1] three-year term?
18 A. She did a second term. I mean, she --
19 somewhere in the midst she left, and I can't tell
20 you
21 when nor why.
22 Q. Okay. She had two terms but left before
23 the end of her second term?
24 A. Yes.
25 Q. Okay. And that was her decision as far
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1
2
3
4 founding board, right?
3
6
7
6

10 who else was on the found ---

as you know?
A.
Q.
A,
Q.
A.
Q.
J
int A,
2 Q.
13 A,
14 Q.
15 term?
16 A,
17 Q.
18 expired?
19 A,
20 Q.
21 A,
22 Q.
23 that?
24 A
25 Q.
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Yes,
Okay. I'm assuming you were on the

Yes.

And Kathleen Miller was?

Munn, yes.

Munn, I'm sorry. Kathleen Munn was.
Besides the two of you and Ms. Miller,

Wanda Hall.

And how do you know Ms. Hall?

Church.

And did Ms, Hall leave at the end of her

She just left two months ago.
Okay. And was that because her term had

She was inactive.

How long had she been inactive?

Two years.

Do you know if there's a reason for

No.
You don't know?
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1 A. Ido not know. Herbert Harris.

2 Q. Herbert? And how do you know Mr.

3. Harris?

4 A, Friend of the family.

5 Q. Is he another person you've known all
6 your life?

] A. No.

8 Q. Okay. How long have you known him?

J A. Maybe five years.

10 Q. Okay. So just a fairly short time as of |
11 the time of your ---

12 A, He's a friend of my sister.

13 Q. Okay.

14 A. She's known him longer.

15 Q. Friend of ---

16 A, Kathleen

17 Q. --- Kathleen Munn? i
18 A. Yes.

19 Q. Okay. Did they have a dating
20 relationship?
21 A. No.

22 Q. Just a friend?

23 A. Yes,

24 Q. Okay. And he's no longer on the board,
25 right?

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1 A. Right.
2 Q. When did he leave?
3 A. Maybe 2006-2007 -- 2007.
4 Q. One other thing I'll tell you with these
5 dates. Approximate dates are fine. I know it's
6 hard to remember back about all these people and i
] all these dates. 80 don't feel like you have to
8 give me an exact date. And do you know why he
9 left?
10 A, No.
11 Q. Was it before the expiration of his
12 term?
13 A. I don't remember.
14 Q. Okay, anybody else?
15 A, No.
16 Q. Okay. When was this organization j
iv incorporated?
18 A. 2002.
19 Q. Is it a nonprofit?
20 A. Yes.
21 Q. And the purpose of the organization is

22 to provide finances for students?

23 A. No, it's tutoring assistance. Tutoring
24 and assistance to students.
20 Q. Oh, okay.
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1 A. Ages § -- I mean, 4 to 18. As well as
2 computer training and other services to ensure
3 they
4 are successful in educational needs.
5 Q. Okay. And about what -- what's your
6 best estimate as to the annual income of that
7 organization?
8 A. Less than $12,000.
g Q. Per year?
10 A. Yes,
il Q. How do you find the students that you
12 want to provide the assistance to?
13 A. ‘They find us.
14 Q. Okay. How do they find you?
15 A. Through word of mouth.
16 Q. Is that it?
iv A, That's it.
18 Q. Okay. They -- you don't work with the
19 public schools or anything in identifying children
20 ~~ who might need your ---
21 A. That's not ---
22 Q. --- help?
23 A, --- helpful. No.
24 Q. Okay.
25 A. That's not helpful.
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1 Q. Where are the classes held?

2 A. 1183 East Arcadia Road.

3 Q. Is that an instructional building?

4 A. It is,

5 Q. Does it ---

6 A, It's called ---

7 Q. == have a name?

8 A. It's called East Arcadia Center for
9 Excellence.

10 Q. And is that building property of the
i foundation?

12 A, Of the family.

3 Q. Of the Munn family?

4 A. Yes,

15 Q. And does it have classrooms in it?
16 A, Yes,

iv Q. Okay. And so during the school year
18 recognizing that you may not have as many kids
19 participating then, do they come after school?

20 A,
21 Q.

Yes,
And for how long?

22 A, Until 5:30-6 o'clock. Pick up no later
23s than 6:00.
24 Q. Okay. And during the summer, do they
25 come all day?
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1 Q. Do you make any determinations of 1 A, Eight to two, unless it's a certain
2 financial need before you provide the help? 2 program, and then it may be the afternoon.
3 A. No. 3 Q. Okay.
A Q. Okay. So it's not based on financial 4 A, But it's normally like eight to two.
5 need at all? 3 Q. And do you teach at this school or ---
6 A. No. 6 A. Sometimes I do.
7 Q. Okay. Do you have any criteria for 7 Q. --- institution?
8 providing assistance to these kids? 6 A. Sometimes I do.
g A. Must need assistance. g Q. Do the other board members teach?
10 Q. Must need assistance. 10 A. No.
11 A. Adesire to learn, That's it. 1 Q. Okay. Who teaches besides you?
12 Q. Okay. And approximately how many 12 A, Parents pay for tutors, specific tutors
13 children per year would you say you've helped 13 to come in.
14 since this organization was formed in 2002, right? 14 Q. And then they just use your building?
15 -I thought that's what you said. Yes. 15 A. se the building, correct. And then
16 A. I don't know, but the students may -- it 16 either some volunteers come in, or I have another
1 can range from throughout the year we have as many 17 — lady sometimes that I pay to come in and tutor
18 as 25 during the summer to sometimes 8 to 12 18 specifically science.
19 during the winter months. It varies. 19 Q. And you pay the person out of the
20 Q. More -- generally, you'd have more in 20 ~— foundation money?
21 the summer? 21 A. No, T pay. I
22 A. Yes, 22 Q. Oh, you pay that out of your own pocket?
23 Q. Okay. And do you actually have classes 23 A. My own pocket.
24 in a building? 24 Q. Where do your funds generally come from?
25 A. Yes. 25 Who donates to your organization?
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1 A. Several organizations donate from the 1 Q. Okay. And you said the senior citizens,
2 Longshoremens, to the North Carolina Youth 2 did you mean an organization, or did you mean just
3 Advisory, to the church, senior citizens, 3s vardous senior citizens make donations out of ---
4 individuals, raffles, International Paper. 4 A. Both.
5 Q. Okay. When you say Longshoremen, you 5 Q. --- their own --- okay.
6 mean the union? 6 A, Both.
7 A. The organization, yes. 7 Q. Which organizations have made donations
8 Q. The Longshoremen's union? 8 to your foundation?
9 A. Yes, 5 A. East Arcadia Senior Citizens.
10 Q. Was your father a member of that union? 10 Q. Any other organizational donors?
il A. No. 11 A. Senior citizens, no.
12 Q. How did -- do they have a local in the 12 Q. Okay. And then International Paper, is
13. area? 13 that where your father worked?
ld A. Yes. 14 A. Yes.
15 Q. Okay. And is that how you get the 1b Q. And so that company has made donations i
16 donations from them? 16 to your foundation?
1] A. Yes. I 1] A. Grants.
18 Q. Where is their local that --- 18 Q. Made grants? And then you said raffles,
19 A, Wilmington. 19 is that -- those would be things that you all did
20 Q. Do you know the number? 20 on your own to try to raise money?
21° A. No. 21 A. Yes,
22 Q. Okay. And the North Carolina Youth 22 Q. And do you usually do those through your
23 Advisory you said? 23s church, or ---
24 A, Yes, 24 A. Through the organization.
29 Q. And is that an agency of the state 25 Q. Okay. Do you go to the shopping center
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1 government? 1 to sell tickets?
2 A. Yes, 2 A. No.
3 Q. And they make grants? 3 Q. Sell them at church?
4 A. Yes, 4 A. No.
5 Q. And then the church, would this be your 5 Q. Where do you sell them?
6 church? 6 A. Anywhere, on the street, not at church
7 A. Yes, 7 though.
8 Q. Any other churches? 8 Q. Okay. I don't mean in church, but I
9 A, arly on members of churches did. 9 mean out on the church grounds ---
10 Different -- multi members of churches. 10 A. No.
1 Q. But when you said church, you meant the il Q. -~- after the service is over?
2 church --- 12 A, Never.
13 A. Sunday school. 13 Q. No?
14 Q. --- itself donates? 14 A. Cannot sell on the church ground. Just
15 A, The Sunday school -- church, Sunday 15 different places other than the church,
16 Schoo] donate. 16 Q. But people just go out in public and
1 Q. Okay. Like the class decided as a class 17 sell tickets?
18 to make a donation to --- 18 A. Yes,
19 A. Yes. 19 Q. Okay. And do you get prizes that are
20 Q. -=- your foundation. Okay. And what is 20 ~— donated for the raffles?
21: your church? 21 A. Sometimes they're donated. Very seldom
22 A, Pleasant Union Baptist. 22 we buy the prize with the proceeds -- from the
23 Q. In what city? 23 proceeds. Comes from the proceeds.
24 A,  Riegelwood -- Bast Arcadia, but it's a 24 Q. Okay.
25 ~~‘ Riegelwood address. 25 A. Sometimes.
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1 Q. And what are the prizes usually? Is it
2 a trip we wish?
3 A. Gift card, radio, MP3 player.
4 Q. So under $100 probably?
5 A. Oh, no. Under 50.
6 Q. Okay. Now, axe there any other
7 organizations you're involved in the commnity
8 besides this foundation and the school board?
J A, Bladen Improvement Association, but it's
10 not in my community but, yes.
i) Q. Okay. And we've talked a little bit
12 about that one. Are there any others?
13 A. Eastern Stars.
14 Q. What's that?
15 A. It's like the Shriners,
16 Q. Is it a female version of the Shriners?
i A, Yeah.
18 Q. Okay.
19 MR. GRESHAM: 1 thought it was the
20 Masons.
21 THE WITNESS: That's a different --
22 ~~ ‘the Masons aren't -- yeah.
23 MS, SHEA: Yes, 1 think ---
24 THE WITNESS: Yeah, yeah.
25 MS, SHEA: --- they're all the
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1 same, aren't they?

2 MR. GRESHAM: No. No.

3 THE WITNESS: No, they're really
4 not. You're right. It's Mason, not Shriner.

5 Q. Masons?

6 A, It's more like Masons. Yeah.

] Q. Okay.

8 A, Let's just put Mason,

§ Q. And are you an officer or anything in

10 that organization?

1 A. No.

12 Q. dust a member?

13 A. Yes.

\4 Q. And would that be the East Arcadia

15 branch?

16 A. Yeah. It's in another town.

i Q. Oh okay, what town?

18 A. Leland, L-e-l-a-n-d.

19 Q. Okay.

20 A, North Carolina. Committee 100.

21 Q. This is a different organization, right?

22 A. Yes.

23 Q. Okay. And what's that?

24 A. Idon't think I could tell you.

25 Q. You have to ask your attorney?
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1 A. No, not -- it's -- they are more about
2 - let me give you the other one first.
3 Q. Okay.
4 A. Bladen -- I forgot the name of that one.
5 IT can't think of it.
6 _ Q. Okay, so there's something called Bladen
] that you can't think of the full name of?
§ A, Yes.
9 Q. And then there's Committee 100 ---
10 A. Committee 100 ---
li Q. --- which is different ---
12 A, --- isa -- it's a different
13. organization, and I think they're more about
14 economics, bringing economics in -- in to the
15 community or to the county. And the Southern
16 Economic Development 1s the other one. Southern
1] Economic Development was the other one and it's
18 about economics.
19 (Off-record comments)
20 A. Economic Development is not Bladen.
21 Southern Economic Development is the other one.
22 Q. Okay.
23 A, It's about economics.
24 Q. Now, when you said it was about bringing
25 economics into Bladen County, were you talking
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1 about Committee 100 or Southern Economic?

2 A. Both, they both are. They both have

3 some dealings.

4 Q. And when you say bringing economics into
5 the county, what you really mean is bringing --

6 A. Business. It's about the economics.

7 It's bringing in business. Committee 100 has

8 another focus. I can't think of what it is

9 offhand.

10 Q. Okay.

il A, I don't remember.

2 Q. Okay. But kind of recruiting businesses

13 to put their facilities in Bladen County to create

14 jobs for employ -- for people ---

15 A. Yes,

16 Q. --- who live in the county.

iv A. Yes.

18 Q. Okay.

19 A. Yes,

20 Q. Are you anything other than a member of

21 = Committee 100?

22 A. No.

23 Q. And where are they based?

24 A. Elizabethtown.

25 Q. And Southern Economic Development, are
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1 you a member of that organization?
2 A. Yes,
3 Q. Not an officer?
4 A. No.
5 Q. Okay, and where are they based?
6 A. Bladen County, Elizabethtown.
] Q. Any other commnity involvement?
8 A. Church,
g Q. Okay, and that's the church we've
10 already talked about, right?
i A. Yes.
12 Q. Are you an elder in your church?
13 A. No.
ld Q. Are you ---
15 A. Usher.
16 Q.  --- an usher?
iv A. Yes.
18 Q. Are you involved in the government of
19 your church at all?
20 A. Yes,
21 Q. You are?
22 A. Tan,
23 Q. Okay. How so?
24 A. Baptist policy is that the members
25 govern the church.
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] Q. Okay, are you different from any other
2 member of your church, or ---
3 A. No,
4 Q. Okay. So when you say you're involved,
5 you mean as a member or as any member of that
6 church, right?
1 A. Yes.
8 Q. Okay. Apart from usher, do you hold any
9 formal positions with that church?
10 A. No.
ia Q. Okay. Have you been ---
2 (Off-record comments)
13 Q. Have you been a member of that church
i your whole life?
15 A. No.
16 Q. Okay. When did you join that church?
1] A. When I was young, 12, until the 80s --
18 mid-80s -- early -- yeah, mid-80s.
19 Q. Now, did you leave in the mid-80s
20 because you were going into the military, or did
21: you leave for another reason?
22 A. Because I was away.
23 Q. Okay, so ---
24 A. In the military.
25 Q. Did you kind of consider yourself a
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1 member of that church even though ---

2 A. I did.

3 Q. --~ you were away?

4 A. Yes,

3 Q. Okay.

6 A, So really, I was still a member.

] Q. Okay. And ---

8 A. (Inaudible) ---

) Q. --- you say you joined at age 12. Is
10 that when you were baptized?

11 A. Yes.

2 Q. Were you going to that church as a
13. little child?

\4 A. Yes.

15 Q. Okay. So when you say joined, you

16 really mean you officially became baptized, right?
1] A. Yes,

18 Q. Okay. So really you've been a member of
19 that church your whole life?
20 A. Yes.
21 MR. GRESHAM: You've attended.
22 MS. SHEA: Well, in various
23s capacities.
24 Q. (Ms. Shea) Any other community
20 involvement?
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
a
_ PAGE 52

 

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1 A. None that I can think of at the moment.
2 Q. Okay. And if you think of something

3 later on, feel free to jum in with that even if

4 we're talking about something else because I would
) like to get everything you're involved in, But it
6 sounds like it's plenty. Now, you were working at
7 one time on your PhD, right?

§ A. Yes.

9 Q. Did you ever get that? i
10 A. No.

it Q. How far along are you on your PhD?

12 A. My dissertation,

13 Q. You've taken your comps?

14 A. Yes.

5 Q. And is that at Fayetteville State?

16 A. Yes,

iy Q. And what is the program you're in?

18 A. Educational leadership.

19 Q. Is that the same or similar to

20 = educational administration?

21 A. I don't know.

22 Q. Okay. What is educational leadership?
23 A. It prepares you to be, I guess, an

24 executive or VP or president of a -- of an
25 institution whether it's a community college,
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Page 53

1 college or four-year institution.

2 Q. Okay. So maybe a -- I don't know if

3 it's educational administration or public

4 administration. That would qualify you to be

) probably a lower-level administrator in an

6 institution, and your program would allow you to
7 be up at the top?

§ A. Yes,

J Q. Okay. And when did you start that
10 program?
1 A. August 2005.
2 Q. Okay. So that was while you were still
13 teaching at Bladen Community College, right?
14 A. Yes.
15 Q. And did you have -- your other degrees
16 have not been in that field, right?
1] A. No.
18 Q. Okay. Your bachelor's degree is in
19 what?
20 A. Psychology.
21 Q. Is that a BS?
22 A. Yes.
23 Q. And that's from Winston-Salem State,
24 ~— right?
25 A. Yes,

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aaa eae
-——— PAGE 54
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] online education, right?
2 A. No.
3 Q. It was live, but not in Boston?
4 A, Yes.
5 Q. Okay. And where was it?
6 A. Vicenza, Italy.
7 Q. Okay. And then the degree you got from
8 Pittsburgh, that was actually done in Pittsburgh,
9 right?
10 A. Yes, and I didn't finish on the other
11 one,
12 Q. The BR in education was not completed?
13 A, No. I didn't complete -- t was in
14s Ttaly, and it was in Heidelberg, Germany,
15 different locations.
16 Q. You did get the degree though, right?
1] A. Yes,
18 Q. Okay. And you did get the MS from
19 Pittsburgh?
20 A. Yes,
al Q. Okay. And so what caused you to think
22 you would like the educational leadership PhD?
23 A. Working at Bladen Community College and
24 in education.
25 Q. So were you thinking you would like to
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
—— PAGE 56
Ophelia Munn-Goins - Volume I Page 56

1 Q. And then do you have more than one 1 be in high administration, if you will pardon that
2 master's degree? 2 expression?

3 A. Yes, 3 A. Yes.

4 Q. Okay. Can you just tell me what each of A Q. Okay. And is there a reason why you

5 your master's degrees are in and which school you 5 decided that appealed to you? You know, I decided
6 got them from? 6 to go too law school because I thought it would be
] A, One is in human resources and -- I don't 7 interesting and fun. You know, did you -- was

8 know the acronym -- human resource and education I § there any thought process that went into your

9 think from Boston University and health 9 deciding
10 information systems from the University of 10 you wanted an educational leadership PhD and
il Pittsburgh. 11 wanted to be in upper administration at a school?
2 Q. And your masters are both master's of 12 A, Yes, When I was working at Bladen
13 science? 13. Community College as an instructor, I felt that
14 A. Yes. 14 that was a good place to go to help students and
15 Q. Now, I don't think you listed Boston as 15 to bring about change. I thought it was a good
16 any of the addresses you lived at. Did you --- 16 opportunity and a -- and a good field.
iv A. I did it overseas. 1] Q. Okay. And when you talk about bringing
18 Q. Okay. Did they have --- 18 about change, was there anything that you saw at
19 A. Satellite campus. 19 the college that you thought needed to be changed?
20 Q. I'msorry. We probably need to stop 20 A. Nothing in particular.
21 talking at the same time. They had a satellite 21 Q. Okay. So things were fine, but you just
22 campus overseas, and you took courses there in 22 thought it would be good to be in a position like
23s person? 23 that?
24 A. Yes. 24 A, Yes.
29 Q. Okay. It wasn't correspondence or 29 Q. Okay. Now, before you went to work at

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—— SHEET 8 PAGE 57
Ophelia Munn-Goins - Volume I Page 57
1 Bladen Commmnity College, apart from the military,
2 were you employed anywhere?
3 A. Yes,
4 Q. Can you give me each job from high
9 school? Hopefully with the military there aren't
6 going to be too many, but every job you've had
7 since high school before you went to -- leading up
8 to your employment at Bladen Community College?
J A. Work study at college -- in college.
10 Q. Okay. And that would be through either
11 Winston-Salem State, Boston U or Pittsburgh?
12 A, Winston-Salem State only.
13 Q. Okay. And did you -- that degree was
14 psychology, right?
5 A. Yes.
16 Q. Did you spend time observing
1] psychologists, or ---
18 A. No.
19 Q. --- did you work with -- counsel kids or
20 = what did you do?
21 A. I worked as a graduate nurse at Bowman
22 ‘Gray Hospital with -- for a year and a half.
23 (Off-record comments)
24 Q. Okay. And that would be approximately
25 which years?
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
—— PAGE 58
Ophelia Munn-Goins - Volune I Page 58
1 A. '79 to '80 -- through -- '79 through
2 "80,
3 Q. Okay. What else?
4 A. I worked at some book company for four
5 months in '80.
6 Q. Would this be a publisher or a
7 bookstore?
8 A, Publisher.
g Q. Was that in Winston-Salem?
10 A, Yes.
ll Q. Ibet I know who that is, but I can't
2 think of their name right now. Did they do
13 yearbooks?
14 A. No.
15 Q. Ob okay. Maybe it’s not the one I was
16 thinking. Okay. So you did that for about eight
7 months, and that was while you were still in
18 school?
19 A. Four months.
20 Q. Four months. I'm sorry.
21 A, Four months.
22 Q. While you were still in school?
23 A. No, it was out of school. It was in
24 = 1980 -- it might have been '81. Might have been
25 "BL.

 

  

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—- PAGE 59
Ophelia Munn-Goins - Volume I Page 59
1 Q. Okay, Anybody else?
2 A. Yes. I worked for like a 7-11 for a
3 syear.
4 Q. And which town was that in?
5 A, Winston-Salen.
6 Q. As a clerk?
7 A. Yes,
8 Q. I did that in college during the summer.
J A. In the 70s.
10 Q. Approximately what year, in the 70s?
1 A. '76-'78, I don't know. It was in the
1270s.
13 Q. All right.
14 A. ‘The town of East Arcadia. In 1980 for a
15 few months -- 1981, excuse me.
16 Q. What were you doing there?
1] A. Town clerk.
18 Q. Town clerk?
19 A. Yes.
20 Q. Ob, okay. You didn't have to run for
21 that?
22 A. No.
23 Q. Was that a clerical position?
24 A. Yes,
25 Q. Was there more than one town clerk?
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
—— PAGE 60
Ophelia Munn-Goins - Volume I Page 60
1 A, There were two of us working at the
2 ‘time,
3 Q. But it wasn't an elective office, right?
4 A. No.
5 Q. Okay.
6 A, I'm not sure if the other person was a
7 town clerk or not. I don't know what her position
8 owas.
9 Q. Okay. Any others?
10 A. Ask the question again.
il Q. Any other employment apart from the
12. + military, apart from your employment at Bladen
13 Community College?
14 A. Fayetteville State University.
15 Q. And what was your position there?
16 A. — Instructor.
WV Q. What did you teach?
18 A. Information systems.
19 Q. So this was relatively recent?
20 A, It was in 2005-2006.
21 Q. Okay. So that was when you were still
22 ~~ working at Bladen, right?
23 A. Yes,
24 Q. So this was a second job?
29 A, It was part time, yes. Taught one
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1 class.

2 Q. And you got permission from the school,

3 from Bladen to teach at Fayetteville State, right?
4 A. Yes,

5 Q. Any others?

6 A. I worked for Edward Jones. Well, I

7 didn't really work, T was a trainee,

8

Q. What were you a trainee for?
9 A. Financial advisor.
10 Q. Was that just this year?
i A. Yes,
12 Q. For a couple of months?
13 A. Yes,
14 Q. The reason I know this much is because

1b your attorney gave me the information about that
16 today so. Were you supposed to be counseling
i people on what to do with their money?

18 A. Yes. Yes,

19 Q. And if you counsel them the right way,
20 you get commissions, is that the ---

21 “AL Yes,

22 Q. --- way it works? Okay. And I

23 understand you are no longer employed with Edward
24 Jones?

 

 

25 A. That's correct.
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PAGE 62
Ophelia Munn-Goins - Volume I Page 62
1 Q. And why not?
2 A. I guess the economy. I don't know.
3 Q. Okay. Did they tell you they didn't
4 need you anymore?
5 A, They just say we made a determination.
6 That's it. That's all they say.
] Q. Okay. So you didn't quit?
8 A. No.
9 Q. They told you we've made a
10 determination?
11 A. Yes,
12 Q. And is it your understanding that's --

13 whether they make a determination or not, is

14 probably based on the commissions you generate?
15 A. No, I never got that far.

16 Q. Okay. So you don't -- okay. And I

iv think based on your answers your attorney gave me
18 today, they're based in St. Louis, Missouri?

19 A. Yes,

20 Q. Were you working in St. Louis?
21 A, No.
22 Q. You were working in ---
“123 A. I was working online.
24 Q. Okay. If you had completed the

25 training, would you have had to move somewhere?
11-05-08 Munn-Goins vs, Bladen\7:08CV21 COPY

 

 

 

—— PAGE 63
Ophelia Munn-Goins - Volume I Page 63
1 A. No.

2 Q. Okay. Were you going to be an online

3 counselor? Was that ---

4 A. ~--- You become a financial advisor, you
5 find a location. I don't know where that location
6 would be in North Carolina. It would be in my

7 area where I live.

§ Q. So you would open an office?

J A. Yes,

10 Q. Okay. I got it. Okay. Anything else?
11 A. As a job, no.

12 Q. No other paid employment?

13 A. YTB Travel Network.

14 Q. Oh, that's the job that paid $10 in

15 change? I could see why you quit that one.

16 A, I didn't quit.

Yy Q. Ob, you didn't?

18 A. It was -- It's an internet -- I don't
19 know how to explain it. Internet ---

20 Q. Internet travel agencies?

21 A. Yes,

22 Q. Okay.

23 A. That's what it is,

24 Q. So you're still doing it, but you're not

25 ‘making enough to get by?

 

 

) Q. Oh, my gosh.
10 A, So I'm -- I'm tired of paying.
il Q. Idon't blame you. Okay. All right.

12. “Now, I think you said that you actually began
13 teaching part time at Bladen Commnity College
14 —s while you were still in the military, right?

15 A, Officially, yes.

16 Q. Was your active phase pretty much over
1] by the time you started teaching there?

18 A. Yes.”

19 Q. Okay. So you were just waiting for the
20 ~— official retirement date ---

21 A. Yes,

22 Q. --- essentially? You were honorably

23s discharged from the military, right?
24 A. Yes,
25 Q. And your retirement rank is Lieutenant

 

 

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—— PAGE 64

Ophelia Munn-Goins - Volume I Page 64

1 A. Not making anything.

2 Q. Well you made §10. Okay so you're still

3 doing that in your spare time?

4 A, Well, it'll end -- it'll end in -- this

5 month it ended. I quit paying. You have to pay.

6 Q. Oh, you have to pay?

7 A, You have to pay. It's not like you make

8 money, You pay.

 

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OPHELIA MUNN-GOINS - VOLUME I

 

—— SHEET 9 PAGE 65
Ophelia Munn-Goins - Volume I Page 65

colonel?

A. Yes,

Q. Okay. How were you first attracted to
Bladen Commmity College as a place to work?

A. Dr. Page talking to hin.

Q. So you already knew Dr. Page?

A. Yes,

Q. And how did you know Dr. Page?

A. My father was a member of the Board of
Trustees, and I met him through him.

Q. Did you and Dr. Page get along well?

A. Yes,

Q. Did you consider him a friend?

A. Yes.

Q. And so he recommended that you apply for
a teaching job?

A. Yes,

Q. Now, at that time Kay Geisen was not
there yet, right?

A. Correct.

Q. Okay. Did you know Lloyd Horne?

A. No.

Q. So you applied for a job?

A. Yes.

Q. And the job you applied for was

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—— PAGE 66

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information technology?

A, Isn't it information systems, computer
science,

Q. Computer science. Okay. And would you
have gotten that background through your degree
through the University of Pittsburgh?

A. Yes,

Q. Now, did Dr. Page just tell you put in
an application. We'd like to consider you, or did
he tell you, we'll hire you. We need a teacher,
you've got the job?

A. I don't remember.

Q. Okay, Was it your impression that you
were probably going to get it, or did you know?

A. Didn't know.

Q. Did you have to go through any kind of
application process or anything?

A. Iwas part time at first.

Q. Right.

A, And that's what he encouraged me to do,
part time.

Q. But to start the part-time work, do you
remember having to go through any process other
than talking to Dr. Page?

A. Talk to Dr. Garner.

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—— PAGE 67 :
Ophelia Munn-Goins - Volume I Page 67
] Q. Who's that?
2 A. She died. She used to be the VP of the
3 curriculum instruction.
4 Q. She would have been Kay Geisen's
3 _-predecessor?
6 A. Yes,
7 Q. Okay. And can you tell me that name
8 again?
9 A. Sherry Garner.
10 Q. Okay. And is she Dr. Garner?
i A. Yes,
12 Q. Okay. So you talked to Dr. Page, and

13 - you interviewed with Dr. Garner and that went
14 well?

 

15 A. Yes,
16 Q. Okay. And then do you remember filling
17 out: an application?
18 A. Yes.
19 Q. Okay.
20 MS. SHEA: And John, I'll have to
21 have copies of these made later on,
22 MR. GRESHAM: ‘That's fine. I can
23 look on with here,
24 MS. SHEA: Okay.
25 (DEPOSITION EXHIBIT
11-05-08 Munn-Goins vs. Bladen\7:08CV2! COPY
—_. PAGE 68
Ophelia Munn-Goins - Volume I Page 68

NUMBER ONE WAS MARKED
FOR IDENTIFICATION)

Q. (Ms. Shea} I'll hand you what's been
marked as Exhibit One. And is that your initial
employment application at Bladen Community
College? Take a minute and read it if you need
to.

A. don't know. There's no date on it.

9 Q. Okay. I may need to look at that and
10 = see if I can find anything.

lt (Ms. Shea examined document)

12 Q. Is there anything on this document that
13 would help you determine whether this was your

14 first application for employment? And if not,

15 that's fine. (Witness examined document)

16 A. Can't tell you.

7 Q. You do remember that you filled out an
18 application for employment when you started work?
19 A, Yes.

COI Or mS Co Bm FO

20 Q. Back in 2002?
21 A. Yes.
22 Q. Okay. And did you ever fill out another
23 ~~ employment application?
24 A, 1 think T did.
25 Q. Was that in 2007?
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| Ophelia Munn-Goins - Volume I Page 69
1 A. 2002.
2 Q. You think you filled out two employment
3 applications?
4 A. 2002.
5 Q. One for the part-time position and one
6 for the full time?
7 A. Yes,
8 Q. Okay. And so -- and then you did one in
J 2007 also, right?

10 A. Yes,

il Q. Apart from those three, did you ever

1 fill out an employment application at Bladen
13 Community College?

 

 

14 A. Not that I'm aware of.

15 Q. Okay. So this would be one of the
16 three?

1] A. If I did three. I thought I did a
18 second one in 2002.

19 Q. Okay,

20 A, But I'm not sure.

21 Q. Is that your handwriting?

22 A. Yes. It appears to be.

23 Q. Okay. And that's your work experience
24 at least as of some point in your life?

25 A. Yes,

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ees es
——. PAGE 70

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1 Q. Okay. 80 the only thing -- we're not

2 sure --~

3 A, Tt doesn't look right though. It's just

4 missing a lot in between.

3 Q. I think it does appear to be missing

6 some pages.

] A. Okay.

8 Q. Yeah. But at least what you see does

 

9 look like your handwriting ---

10 A. Yes.

11 Q. --- your employment history, and your

12 education?

13 A. Yes.

14 Q. Okay. So you were hired part time and

1b taught part time for how long?

16 A. Four months -- four-and-a-half months.

17 Q. And would that be to the end of the

18 spring 2002 semester?

19 A, Yes.

20 Q. Okay. And then at some point had you

21 talked to Dr. Page or Dr. Garner or anybody about

22 going to a full-time position?

23 A. Dr. Garner called me and talked to me

24 about it.

25 Q. Okay. And did she make an offer to you?
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—_ PAGE 71
Ophelia Munn-Goins - Volume I Page 71
1 A. Yes,
2 Q. And about when was that done, if you
3 remember, in 2002?
4 A. The summer 2002,
5 Q. Had you told her before that you would
6 be interested in working full time?
] A. Yes.
8 Q. And those full-time positions I guess
g can be either nine-month positions, ten-month
10 positions or twelve-month positions, is that
il right?
2 A. Yes,
13 Q. And do twelve-month employees make more
14s money than nine-month employees?
15 A, No.
16 Q. They all make the same amount of money?
1] A. No.
18 Q. Well, let me take that back. The months
19 out of the year that they teach do not affect
20 ~—stheir salary?
21 A. Correct.
22 Q. Okay. Is it just that the same salary
23. ~— gets stretched out over 12 months?
24 A. No.
25 Q. What's the difference between a
11-05-08 Munn-Goins vs, Bladen\7:08Cv21 COPY
I |
—— PAGE 72
Ophelia Munn-Goins - Volume I Page 72
1 nine-month, a ten-month and a twelve-month
2 employee then?
3 A. The month -- the months they work. Just
4 the number of months they work. Not about the
5 salary,
6 Q. Okay. So ---
1 A. As far as I know,
8 Q. Okay. As far as you know? You are not
9 a hundred percent sure of that?
10 A. I'ma hundred percent sure that your
11 salary -- a twelve-month, doesn't necessarily make
12. me more than a nine-month or a ten-month. A
13. nine-month doesn't make less than a twelve-month.
14 It depends.
15 Q. Depends on what you teach, right?
16 A, What you teach and your salary when you
1 came in and those other factors.
18 Q. Okay. Let me try to say it this way
19 then, and this may make it easier. Let's just
2) ‘take one person as an example, and I'm going to
21 use you as the example. Okay. You have a certain
22 educational background, right?
23 A, Yes.
24 Q. And you have a certain type of work
25s experience. Right?
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OPHELIA MUNN-GOINS - VOLUME I

 

—— SHEET 10 PAGE 73
Ophelia Munn-Goins - Volume I Page 73
1 A, Yes.
2 Q. And a certain level of expertise ---
3 A. Yes,
4 Q. c+ right? If you, Ophelia Munn-Goins,
9 were a nine-month employee, you would make X
6 number of dollars based on those criteria and
7 maybe some other criteria, right?
8 A. Yes.
9 Q. Okay. If you were a twelve-month

10 employee, is it your understanding that they would
11 just take that nine-month salary and stretch it
12 out over 12 months?

13 A. No.

i Q. Is it your understanding you would get
15 three extra months of pay?

16 A, Yes.

7 Q. Because you were working during those

18 extra three months, right? You were teaching?

19 (Short pause)

20 A. If you -- can I just say, I don't quite
21 understand what you are asking,

22 Q. Okay. Okay. That's fine.

23 A, But if you are a ten-month employee, you
24 can get paid for 12 months, then your salary's

25 divided by 12.

 

 

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—. PAGE 74
Ophelia Munn-Goins - Volume I Page 74
1 Q. All right. But if you are a
2 twelve-month employee, and you're actually
3 working, you know ---
4 A. I don't know anything about ---
5 Q. --- August through ---
6 A, --- the other employees.
7 Q. --- duly?
§ A. I have no clue.
9 Q. You have no idea. Okay. That's fine.
10 ~—- Fair enough. ;
11 A. Okay.
12 Q. Okay. You do know there are the three
13s types, right?
14 A, I did know that.
15 Q. Okay. And is it also your understanding
16 that faculty, full-time faculty at commmnity
17 colleges are under a contract? They're not
18 tenured?
19 A. Yes. i
20 Q. As they would be at a university, right?
21 A. Yes.
22 Q. And each year the faculty member has to
23 ~—s- sign a contract ---
24 A. Yes.
25 Q. cer with the school? And it's for the
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—— PAGE 75
Ophelia Munn-Goins - Volume I
1 academic year?
2 A. Yes.
3 Q. And it might be a ten-month contract; it
4 might be a nine-month year contract; or it might
5 be a twelve-month contract, right? If you know?
6
1
8

 

Page 75

A. I don't know.
Q. You don't know. Okay. That's fine.
MS. SHEA: We'll mark this Exhibit
9 Two, A through E.

10 (Off-record comments)

ll (DEPOSITION EXHIBIT

12 NUMBER TWO WAS MARKED

13 FOR IDENTIFICATION)

id Q. (Ms. Shea) Okay. Ms. Munn-Goins, I'm

15 going to hand you and your attorney what we've
16 marked as Exhibit Two. And if you take a minute
iv and look at each of those, and then I'll ask you
18 some questions about them.

19 (Witness examined document)

20 Q. Have you had a chance to look at Exhibit
21s Two?

22 A. Yes,

23 Q. Okay. Do those appear to be the

24 contracts that you signed with Bladen Community
25 «College each year that you taught there?

 

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— PAGE 76
Ophelia Munn-Goins - Volume I Page 16
1 A. Yes,
2 Q. And are those your signatures on each of
3 those?
4 A, It looks like one's missing. Yes.
3 Q. Okay. Is your signature missing
6 from ---
7 A. No, the ---
8 Q. --- any of those?
9 A, --- contracts appear to be missing
iQ though.
11 Q. Okay. Which year appears ---
12 A. --- The part-time ---
13 Q. --- to be miss ---
14 A, --- contract, but the full time, yeah.
15 Q. Oh well, actually no, you anticipated my
16 next exhibit. I kept the part-time one separate
iv at least I think.
18 MR. GRESHAM: I would note, Robin,
19 the last contract dated September 1, '06. So it
20 appears from August 1, '05, through March 31, '07,
21 ~~ which appears to be a two-year contract.
22 MS. SHEA: Okay. ALL right.
23 MR. GRESHAM: But I don't know
24 ~~ whether that is a...
25 MS. SHEA: Okay. Thank you.
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OPHELIA MUNN-GOINS - VOLUME I

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| Ophelia Munn-Goins - Volume I
Q. (Ms. Shea) Now I'll hand you what's

1

2

3 these are the part-time contracts, but take a lo
4 at them and then I'll ask you questions about

> them.

6 (DEPOSITION EXEIBIT

7 NUMBER THREE WAS MARKED

8 FOR IDENTIFICATION)

) A. Several are missing, but -- they

10 missing. A bunch of them are missing.

ia Q. Okay. At least for the ones that are
12 there, do those appear to be part-time contracts
13 for you with Bladen Commmity College?

lf (Witness examined documents}

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going to be marked as Exhibit Three. And I think

ok

 

 

5 A. Yes,

16 Q. Okay. And you're saying there should be

1] more than three?

18 A. Yes.

19 Q. Okay. Do you have a rough idea of how

20 many there should be?

21 A. No.

22 Q. Okay. Not even a ballpark, ten?

23 A, Ten.

24 Q. Probably ten or so?

25 A. Yeah.

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Ophelia Munn-Goins - Volume I Page 78

—— PAGE 79

 

Ophelia Munn-Goins - Volume I
] time you took on an additional course to the

2 courses that would have been covered by your

3 regular contract, is that right?

4 A. If the courses were above the original
5 contract, yes.

6 Q. Okay. The original contract would

] envision a certain course load for you, right?

§ A. Yes,

9 Q. And then if they added to that, they
10 would have you enter one of these part-time

1 contracts?

12 A. Yes,

13 Q. Okay. And you did that more than three
i times?

15 A. Yes,

16 Q. ‘The contracts that are marked as Exhibit

1] Three, would your -- would you have signed

18 something like this for your initial employment
19 with Bladen Community College when you were

20 teaching only part time?

21 A, 1 think so.
22 Q. Okay. Now, is it your understanding
23s that when you became a full-time faculty member
24 you were considered a ten-month employee?

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1 Q. Okay. Was that because -- after you

2 became a full-time faculty member, did you also
3 teach part time at Bladen?

4 A. Yes,

3 Q. Okay, and so that's why there would be
6 sO many more.

7 A. Yes, And the original part-time

8 contract is not there.

9 Q. Okay. Now, the part-time contracts,
10 were they just for one semester?

1 A. Each semester.

12 Q. Each?

13 A. Yes.

14 Q. So if you were teaching an extra course,
15. - you would sign a part-time contract with the

16 — college?

1] A. Yes,

18 Q. Okay. And that would just state the
19 extra course you were teaching and a pay rate?
20 A. Yes,
21 Q. And some other information, but that was
22 basic information on the part-time contracts?
23 A. Yes,
24 Q. Okay. And so your testimony is you

2) would enter into a new part-time contract every
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25 A. Yes.
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—— PAGE 80
Ophelia Munn-Goins - Volume I Page 80
1 Q. And that would've begun in the fall of
2 2002, correct?
3 A. Yes.
4 Q. And was Dr. Garner your immediate
3 supervisor?
6 A, No.
7 Q. Who was your inmediate supervisor?
§ MR. GRESHAM: Pardon?
) THE WITNESS: I'm trying to think.
10 She may have been initially. Unofficially, Mr.
11 Dickey sort of act like a supervisor.
12 Q. Okay. Do you know his full name?
13 A. No.
id Q. Is it D-i-c-k-e-y?
15 A. Yes.
16 Q. Do you know his position?
1] A. He was the senior CIS instructor.
18 Q. You didn't have a CIS Department chair?
19 A. I don't remember.
20 Q. Okay. As far as you know, Mr. Dickey
21 and Dr. Garner were the only people you had to
22 answer to in some way?
23 A, Yes,
24 Q. Okay. And ultimately Dr. Page, right?
25 A. Yes.
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OPHELIA MUNN-GOINS - VOLUME I

 

 

 

 

    
   
 
  
   
          

 

 

 

—— SHEET 11 PAGE 81 —— PAGE 83
Ophelia Munn-Goins - Volume I Page 81 Ophelia Munn-Goins - Volume I Page 83
1 Q. During the fall of 2002, were you happy 1 A, I think the sumer of 2003. I'm not
2 with your job? 2 sure,
3 A. Yes, 3 Q. Okay.
4 Q. Did you have any issues at all? 4 A. Oh now, 2004.
5 A. None that I can think of. 5 Q. You think it was 2004?
6 Q. Okay. You got along fine with Mr. 6 A. I don't know,
7 Dickey? 7 Q. Not sure? Okay. That's fine. Was he
6 A. Yes, § -- whenever he left, was he replaced by somebody?
g Q. And with Dr. Garner? g A. No.
10 A, Yes, 10 Q. Okay. So at that point you would start
it Q. And with Dr. Page? 11 reporting directly to the vice president of
12 A. Yes, 12. —s curriculum?
13 Q. And by this time your father was 13 A. No. Oh, there was someone else there.
14 deceased, right? 14 ‘There was another lady. 1 don't remember her
IW) A. Yes. 15 name. She retired. She was the department chair
16 Q. So did you have any dealings with the 16 ~— for a while.
1] — Board of Trustees in 2002? 1] Q. I guess Mr. Dickey and this lady,
18 A. Yes. I mean, I talked to then. 18 whatever her name was, you kind of viewed them as
19 Q. Was that all generally okay, positive, 19 being the equivalent of a department head?
20 or neutral? 20 A. Yes,
21 A. Yes, 21 Q. Okay. But that wasn't really their
22 Q. Okay. Did you feel like you had good 22 ~~ formal job title, right?
23 ~—s relationships with the students? 23 A. The department chair was. That was her
24 A. Yes, 24 ~— formal job.
29 Q. So were you generally satisfied with 25 Q. Oh, she was a --~
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY 11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
—_ PAGE 82 —. PAGE 84
Ophelia Munn-Goins - Volume I Page 82 Ophelia Munn-Goins - Volume I Page 84
1 - your job in 2002? 1 A. She was a ---
2 A. Yes. 2 Q. --- department chair?
3 Q. Were you okay with your pay in 2002? 3 A, --> department chair.
4 A. Yes. 4 Q. For CIS?
5 Q. You felt like it was a fair pay for what ) A, It wasn't CI -- it was business.
6 you were doing? 6 Q. Okay.
] A. Yes. 7 A. For business.
8 Q. Okay. And you got along okay with your 8 Q. Was it your understanding that the
§ fellow faculty members and the staff? 9 Business Department chair then reported to Dr.
10 A. Yes. 10 Garner?
in Q. Okay. In the spring of '03 -- or let's 11 A. Yes.
12 == yes, let's just do the spring of '03, and then 12 Q. Okay. And if you think of her name,
13 starting in the fall of '03, I'll just do full ‘#113 would you just jump in and say it?
14 academic years. During the spring of 2003, were 14 A. Yes.
15 you still -- everything was fine? 15 Q. Okay. Thanks. Okay. So at some point
16 A. Yes. 16 in 2003 or 2004 Mr. Dickey left. And was that a
1] Q. Okay. And then in the fall of '03 Dr. 1] retirement?
18 Garner was still your vice president? 18 A, Yes.
19 A. Yes. 19 Q. And he was replaced by this other lady?
20 Q. Was Mr. Dickey still the senior CIS? 20 A. No. He was not replaced.
21 A. No, 21 Q. He was not replaced so you reported to
22 Q. He had left by then? 22 the chair of the Business Department?
23 A. Yes, 23 A. Yes,
24 Q. Do you remember approximately when he 24 Q. Okay. Who reported to the vice
25 ~— left? 25 ——spresident.
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Ophelia Munn-Goins - Volume I

A, Yes.

Q. Okay. Up until the time Mr. Dickey
left, was everything okay as far as you were
concerned? You were satisfied with your job, got
along well with everybody, thought your pay was
fair ---

A. Yes,

Q. No issues?

A. (No audible response)

Q. Yes? And then from the time Mr. Dickey

left until Dr. Geisen came, was everything still
okay?

A. I don't remember when she came. I don't
know.

Q. Idon't -- I'm not asking you when she
came. I'm just saying during that period where
there was no senior CIS instructor and you were
reporting directly to this Business Department
chair, was everything still okay?

A. Yes,

Q. Okay. And then Dr. Geisen came in 2004?

A, I don't remember.

Q. Okay. Does that sound ---

A. I have no idea.

Q. No idea, okay. Did Dr. Garner retire or
11-05-08 Munn-Goins vs. Bladen\7:08CV21

  

     

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| Ophelia Munn-Goins - Volume I

] —

2 A. She died ---

3 Q.  --- pass away?

4 A, She died.

3 Q. She died while she was still teaching?

6 A. In 2005 I think.

] (Off-record comments)

8 A, I think it was 2005.

J Q. Okay.

10 A. January 2005.

i Q, And was there a search for a

12 replacement?

13 A, I'm sure.

i Q. Do you know anything about that search?
15 A. No.

16 Q. You didn't suggest any people for the
1] position?

18 A. I don't remember if I suggested anyone
19 for that position or not. 1 don't remember.

20 Q. Did you express any interest in that
21s position?

22 A. No.

23 Q. Okay. Did you feel you were qualified
24 for it?

25 A. Yes.

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—— PAGE 87
Ophelia Munn-Goins - Volume I Page 87
1 Q. You did?
2 A. Yes.
3 Q. Okay. But you didn't -- you didn't
4 apply for it?
) A. I didn't want to work 12 months. No.
6 Q. Okay. Do administrators usually work 12
7 months?
8 A. Yes.
9 Q. And so did you have children by this
10 time?
ia A. Yes.
12 Q. And so it was a lot easier having that
3 summer off?
14 A. Yes,
15 Q. Okay. Do you remember knowing anything
16 about the people who were being considered for the
1] position that Dr. Geisen eventually got?

18 A,
19 Q.

Yes.
And what do you know about the

20 candidates? A. I heard Bruce Crocker was one
21 of them, He is another colleague.
22 Q. And what does he teach?
23 A, Business or accounting, something
24 business. And some -~ I don't remember who the
25 other person was,

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Ophelia Munn-Goins - Volume I

 

1 Q. So to your knowledge there were three
2 people being considered?
3 A, No, I don't know how many were
4 considered.
3 Q. Oh okay.
6 A. I just know he was one.
7 Q. Okay.
8 A. I heard,
9 Q. And somebody ---
10 A. Oh, no.
Ul Q. == else ---
2 A. Lynn King, I heard was interested.
3 (Off-record comments)
14 A. Lynn, L-y-n-n.
15 Q. Is Lynn a man or a woman?
16 A. Aman. And I don't remember who else,
17 but I think there were others.
18 Q. Okay. Is Lynn King a colleague also?
19 A. Yes,
20 Q. And where does he teach?
21 A, He doesn't. He's a curriculum
22 specialist.
23 Q. Okay. So at least Mr. Crocker, Mr.
24 King, somebody else. And did you know about Dr.
25 ~~ Geisen?
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OPHELIA MUNN-GOINS - VOLUME I

 

 

 

 

—— SHEET 12 PAGE 89
Ophelia Munn-Goins - Volume I Page 89
1 A. That she had applied?
2 Q. That she was a candidate?
3 A. Yes,
f Q. Okay. And did you know her before that?
3 A. Yes,
6 Q. How did you know her?
] A, She was an instructor colleague.
8 Q. And what did she teach?
9 A. Psychology.
10 Q. So at least three of the people you knew
iat about who were in the running for this position
12. were people you had worked with?
13 A. I don't know if they were in the
14 running. I just heard they had applied.
15 Q. Okay. Well, yes, that's a better way to
16 ~~ put it.
7 Did you have an opinion as to who should
18 get the job?
19 A. No.
20 Q. Did you get along fine with the three
21. ~—— people you've named?
22 A. Yes.
23 Q. And then at some point I guess there was
24 an announcement that a selection had been made and
25 that it would be Dr. Geisen?
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—— PAGE 90
Ophelia Munn-Goins - Volume I Page 90
1 A. I don't know.
2 Q. Okay. You came to find out at some
3 point that Dr. Geisen had been selected?
4 A. Yes,
5 Q. Okay. And were you okay with that?
6 A. Yes.
] Q. You didn't have any issues with the
8 thought of her being your boss I quess in a way?
9 A. Had no problems with that.
10 Q. Okay. And we don't know exactly when
Ii she became the vice president, right?
12 A, I don't remember.
13 Q. Okay. Once she became the vice
14 president whenever that was, you would have been
15 reporting directly to her or through this Business
16 Department manager?
1] A, Business Department director -- chair.
18 Q. Okay. So that person would be your
19 immediate supervisor, and then Dr. Geisen would be
20 ~—s the next person up the chain of command?
21 A. Yes,
22 Q. Okay. Have you remembered the name of
23 that Business Department chair?
24 A. Retire -- no.
25 Q. Okay.
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—— PAGE 91
Ophelia Munn-Goins - Volume 1

 

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1 A, But I know who the new one was, Cynthia
2 ~~ McCoy.

3 Q. Okay. And do you remember approximately
4 when Ms. McCoy became the ---

5 A. No.

6 Q. --- department chair?

7 A. I don't remember.

8 Q. Okay. Let me just do it this way then.

y I was trying to use people, so it would be easier

10 for you to kind of picture what it was like at the
1h time, but during the 2003-04 academic year, fall
2 of 2003 to May of 2004, do you remember that year
13 at all?
14 A. Not really.
15 Q. Okay. Do you remember having any
16 dissatisfaction with your job at that time?
1] A. No.
18 Q. Okay. Do you remember having any
19 personality conflicts with Dr, Geisen or Dr. Page,
20 or I don't know if Mr. Horn was there yet?
21 A. He was there.
22 Q. He was there by then, by 2004?
23 A. Sure.
24 Q. Did you get along okay with him?
25 A. Yes.
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a
—— PAGE 92
Ophelia Munn-Goins - Volume I

 

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1 Q. Okay. So things were still going fine?
2 A. Yes.

3 Q. Okay. And then 2000 -- fall of 2004

4 through the spring of 2005, same question.

5 A. What was the question?

6 Q. Was everything okay as far as you ---

7 A. Oh.

8 Q, --- were concerned?

9 A. Yes,

10 Q. Okay. Was there a point at which you --

11 I don't know if complaint is the right word. Was

12 there a point at which you said that you thought

13: your military background should be included in

14 determining your salary?

15 A. Yes, I said Dr. Garner.

16 Q. You told ---

1] A. Dr. Garner and I ---

18 Q. -<-- Dr. Garner that?

19 A, --- discussed it, and she said that she

20 = would give me credit for my military service.

21. ——-Yes, And I think I talked to Lloyd Horne about

22s it, yes.

23 Q. Okay. When did Dr. Garner tell you she

24 would give you credit for your military service?

25 A, When we talked in 2002, she asked me ---
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OPHELIA MUNN-GOINS - VOLUME I

 

—— PAGE 93
Ophelia Munn-Goins - Volume I Page 93
1 Q. At the time ---
2 A. --- to give her ---
3 Q. --- you were hired?
4 A. Yes. She asked me give her a copy of my
9 -- I think it's my DD214 or something.
6 Q. And would that be retirement credit?
7 A. Yes. She would check into giving it to
§ me.
9 Q. Okay.
10 A. Not that she would give it to me, that

11 she would check into giving it to me.

12 Q. Okay. Did you ever express to her or

13 anybody else that you thought your military

14 experience should also be taken into account as

15 far as your pay as opposed to retirement?

16 A. I'm not sure what you're asking me.

iv Q. Did you ever express to anyone at Bladen
18 Community College that you thought, in determining
19 your salary ---

 

 

 

20 A. Uh-huh (yes).
21 Q. --- that the fact that you had, what, 20
22 years of military ---
23 A. Uh-huh (yes).
24 Q. --- experience should count for
25 something?
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
—— PAGE 94
Ophelia Munn-Goins - Volume I Page 94
1 A. It did.
2 Q. It did?
3 A, Yes. I'm sure she gave me credit for
4 that when she made the offer.
5 Q. Okay. So in terms of your salary and in
6 terms of retirement?
7 A. Not for retirement, no. But as far as
8 my salary, I'm sure -- I think she included that I
9 had experience in information systems, and she
10 included that.
i Q. And then as far as the retirement she
12 said she would look into it?
3 A. Yes.
14 Q. Okay. Did she ever get back to you
1b about the retirement? Did you ever go back to her
16 and ask?
iv A. No,
18 Q. Why didn't you go back?
19 A, Time. Things just happen.
20 Q. Busy?
21 A. — (No response)
22 Q. Busy?
23 A. Yes,
24 Q. Okay. And then at s some point you also
29 talked to Mr. Horne about that?
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—— PAGE 95
Ophelia Munn-Goins - Volume I Page 95
1 A. Yes.
2 Q. Do you remember approximately when that
3 was?
4 A. No.
) Q. Okay. But did you go to see him in his
6 ~— of fice?
7 A, I'm sure.
8 Q. Okay. And did you basically say the
y same thing you had said to Dr. Garner that, you
10 know, she was going to look into whether you could
il get retirement credit for your military service.
12 And nothing had ever happened, and now you were
13. going to talk to him and see if anything could be
14 done? A. Words to that effect, I'm sure.
15 Q. Okay. I know those are not your exact
16 words but, yes. You went to him, and you had a
1] meeting.
18 A. Yes.
19 Q. And you discussed all that with him?
20 A. Yes,
21 Q. Do you remember his response?
22 A, No, but probably he'll check into it. I
23. don't know,
24 Q. Okay. Probably the same response you
25 got from Dr. Garner?
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
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| Ophelia Munn-Goins - Volume I Page 96
1 A. Yes. I don't know,
2 Q. And did Mr. Horne ever get back with
3. you?
4 A. No. Not that I remember anyway.
¥ Q. Is it your understanding that to get
6 military -- to get credit for military time
] through the state employment system you actually
8 have to buy it?
9 A, No.
10 Q. You did not understand that?
ia A. IT never knew anything about it.
12 Q. Okay.
13 A. Period,
14 Q. So you're not denying it, you just don't
15 know because nobody --~
16 A. Right.
1] Q. --- ever got back to you?
18 A. Right.
19 Q. Okay. Did you ever go follow up with
20 = Mr. Horne again?
21 A. No, not that I know of.
22 Q. Okay. And again, why didn't you follow
23. sup with him?
24 A. It was a moot point. It was moot.
25 Q. Why was it moot?
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—— SHEET 13 PAGE 97

 

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1 A. Because I didn't care. It was not an
2 issue,
3 Q. Ob, okay.
4 A. Dr. Garner was gone, so it was not an
5 issue.
6 Q. But you were still fairly young, and --
7 I mean would you have wanted it?
§ A. Not really.
9 Q. Okay. Now, I think you said you started
10: your PhD program in 2005, is that right?
1 A, EdD? Yes.
2 Q. Oh, it's an EdD? Sorry.
13 Do you remember talking to anybody at
14 Bladen about entering that program?
15 A. Yes,
16 Q. Who did you talk to?
1] A. Cynthia McCoy, Barbara Singletary, Lee
18 Ann Bryan, Kay Geisen. I tell you -- I mean I
19 talked to everyone.
20 Q. Okay. When you -- I want to go through
21 those names more slowly. The first one I think
22 was Barbara Singletary?
23 A. Cynthia McCoy.
24 Q. Oh, Cynthia McCoy. Okay. Was it -- you
25 know, without having you identify every single
11-05-08 Munn-Goins vs, Bladen\7:08Cv21 COPY
—— PAGE 98
Ophelia Munn-Goins - Volume I Page 98
1 conversation you might have had with Ms. McCoy
2 about that, was the gist of the conversations, oh,
3 I'm going to get my doctorate. You know, this
4 will be fun. I'm been looking forward to it? Or
5 was it just kind of a casual conversation like
6 that?
] A. No, to let her know because I had
8 classes start a certain time.
J Q. Okay.
10 A, So I had to make sure that it was okay,
11 the times that I'd be leaving, and I didn't have
12. any classes scheduled at that time.
13 Q. Okay. And was the next one Barbara
14 Singletary?
15 A. Yes,
16 Q. Okay. And what was her position?
1] A. I don't know at that time. She was in
18 Con-Ed. I don't know what she did.
19 Q. Okay. And can you just kind of
20 summarize the gist of your conversations about the
21 ~—s program with ---
22 A. Oh, they asked ---
23 Q. --- Ms. Singletary?
24 A, -- questions about the program, and
25 Marva Dinkins, They would just talk about people
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—— PAGE 99
Ophelia Munn-Goins - Volume I Page 99
1 just going through the program. That was it, just
2 general conversation,
3 Q. Casual?
4 A. Yeah.
5 Q. Okay.
6 (Of€-zecord comments}
7 A. Marva, about enrolled in school.
8 Q. And I think you named Kay Geisen, right?

9 Do you remember the gist of your conversations

10 = with her?

11 A, Same thing, just to let her know. She
12 told me about her program that she had enrolled in
13 and completed. She just -- just conversation.

14 You know, she provided guidance.

 

5 Q. So everybody seemed to be supportive of
16 you?
1] A. Yes,
18 Q. And was there anybody else you listed?
19 A. Dr. Page, I talked to him.
20 Q. Dr. Page, okay. And he was supportive
21. ~— also?
22 A. Yes, Lee Anne Bryan.
23 Q. Now, is she another faculty member?
24 A. Yes.
25 Q. Okay. And was that kind of casual
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
—— PAGE 100
Ophelia Munn-Goins - Volume I Page 100
1 conversation?
2 A. Yes,
3 Q. Okay, And have we covered everybody, or
A is there --
5 A. I'm sure there are others.
6 Q. Okay, but those were the people you had
7 identified, weren't they?
8 A. Yes.
9 Q. Okay. So your recollection is that all

10 the conversations you had at Bladen about going
11 back for your doctorate degree were positive and
12 supportive?

13 A. Yes,

14 Q. Okay. Nobody told you, well, gosh, if
15 you do this, you're not going to have time to

16 teach here. We don't like that.

 

  

iv A. No.

18 Q. Okay. Did Bladen pay for you to go

19 back?

20 A. They provided $200, 200-some dollars for
21 tuition and books.

22 Q. Was that per semester or just ---

23 A. It might ---

24 Q. === total?

25 A, >> have been a hundred and ninety

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1 dollars. One semester I got 100-and-some dollars,
2 one semester I got 200-some dollars.

3 Q. And would you have gotten that through
4 Mr. Horne? Would ---

5 A. Yes,

6 Q. Is that how you would've applied for it?
] A. went through the department chair.

8 Q. Okay. So Ms. McCoy would've gone to Mr.
9 Horne ---

10 A. Should have gone ---

ll Q. --- with the request?

12 A. Yes.

13 (Off-record comments)

4 A. It would have been gone from Cynthia

15 McCoy to Kay Geisen to Lloyd Horne.

16 Q. Okay. That would -- so you didn't talk
1] dixectly to Mr. Horne about that?

18 A. I'm sure I did because I didn't get my
19 money. I didn't get it. Oh, you just apply. I
20 ~~ don't know. I talked to him about money for

21 school, yes.

 

22 Q. Did you get your money?
23 A. Yes,
24 Q. Okay. You always got it?
25 A. Yes,
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—— PAGE 102
Ophelia Munn-Goins - Volume I Page 102
1 Q. Okay.
2 A. I got something. They had a committee
3 that would approve the funds.
4 Q. Okay. Do you remember ever telling Dr.
3 Geisen that you were going back to school because
f you wanted her job?
7 A. No.
8 Q. You never said that, or you don't
9 remember?
10 A. want a VP job, not her job, Not at
11 Bladen. a VP job.
12 Q. Wasn't ---
13 A. I don't want ---
ld Q. --- shea---
15 A, --- her job.
16 Q.  --- VP?
17 A, Yeah, but not her job specifically, a VP
18 job.
19 Q. You told her you wanted a VP job?
20 A. AVP job.
21 Q. Okay.
22 A. So like -- if I said her job, it's like
23. sOVP,
24 Q. Right.
25 A. Not at Bladen.
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——. PAGE 103
Ophelia Munn-Goins - Volume I Page 103
1 Q. The equivalent of your job?
2 A, Exactly.
3 Q. Okay. Did you ever talk to Darrell Page
4 or -- well, let me just start with Darrell Page.
5 Did you ever talk to him about your aspirations to
6 become a vice president?
7 A. I'm sure I did.
8 Q. And ---
9 A, And president.
10 Q. And president, some day?
1 A. Yeah, I'm sure,
12 Q. Okay. Was he -- was your recollection
13 that he was supportive of that?
14 A. Uh-huh (yes).
if Q. And encouraged you to pursue that?
16 A. Yes.
1] Q. Okay. Did you ever talk about that with
18 = Mr. Horne?
19 A, Probably not.
20 Q. Okay. He was the money guy, right?
21 A. Yes.
22 Q. Okay. How about Dr. Geisen, did you
23. sever talk to her just about the fact that you
24 wanted to progress from instructor to vice
2) president or president?
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—— PAGE 104
Ophelia Munn-Goins - Volume I Page 104
1 A. Not in a-- like a formal setting. If I
2 was talking to her about something in
3 conversations, I'd go to her and talk to her
4 sometimes, and she would encourage me. So yes. I
5 Mean...
6 Q. Okay ---
7 A. (Inaudible) ---
8 Q. --- so Dr. Geisen was also supportive
9 too?
10 A. Yes.
11 Q. Okay. Your evaluations while you were
2 teaching at Bladen Commmnity College were good?
3 A. The one I received.
14 Q. You only got one?
15 A. One, in fact, I don't know of any
16 others.
1] Q. Okay. And it was good?
18 A. Yes.
19 Q. That's your recollection?
20 A. Yes.
21 Q. Were there any criticisms that you
22. ~— recall?
23 A, None.
24 Q. Not even constructive criticism?
29 A. From?
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1 Q. Any -- whoever did the evaluation. You
2 don't recall ---
3 A. I'm sure. There may have been some
4 constructive criticism.
9 Q. Okay. You ---
6 A. I don't ---
] Q. --- you don't recall any negative ---
8 A. No.
9 Q. --- comments? Okay. And did you get
10 evaluated by students also?
lt A. Yes.
12 Q. And is it your recollection that those
13 evaluations were good?
14 A. Mostly good but with constructive
15 criticism.
16 Q. Okay. Did you ever have a student just
7 go off on some ---
18 A. Qh, yeah,
19 Q. Just blast you for something stupid?
20 A. Might have been according to them.
2l Q. Okay.
22 A. I'msure. Yes.
23 Q. But there were some like that?
24 A, One, maybe two.
25 Q. Okay. Overall they were good?
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—— PAGE 107
Ophelia Munn-Goins - Volume I Page 107
1 Q. You felt your pay was fair?
2 A. Yes.
3 Q. And the issue with retirement was kind
4 of a nonissue as far as you were concerned? i
5 A. Yeah.
6 Q. Okay. Did you ever have a problem with
7 air quality?
8 A. Yes,

9 Q. Okay. Can you tell me about that?
10 A, There was something in our classroom
1i that would make me lose my voice, and I couldn't

 

   
  
  
  

12 speak,

13 Q. And did you go to anybody about that?

14 A. 1 saw a pulmonologist.

1h Q. Oh, so you went to a doctor about it?

16 A. Yes. I
17 Q. Okay. And did the doctor give you a

18 diagnosis?

19 A. Yes,

20 Q. What was the diagnosis?

21 A. Laryngitis, bronchitis at that point. I
22 saw several doctors.

23 Q. And who was the doctor?

24 A. I don't know,

25 Q. Do you remember the town?

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1 A. Yes, 1 A. I saw one in Elizabethtown and emergency
2 Q. It sounds like from your testimony that 2 urgent care. It's a PA I ended up seeing there.
3 really things were very good at this job, is that 3 I saw another one. I think I saw that PA twice,
4 right? 4 and then I saw the pulmonologist in Wilmington.
9 A, Compared to what? 9 Q.  Pulmonologist?
6 Q. Idon't know. I mean, it sounds like 6 A. Yes.
] you were happy there? 7 Q. And do you remember the pulmonologist's
8 A. Yes, 8 name?
9 Q. You liked the people you worked with? 9 A. No.
10 A. Yes. 10 Q. And they said that you had laryngitis or
1 Q. You got along well with everybody? 11 bronchitis --- 1
12 A. Yes. 12 A. That's what ---
13 Q. You might have had a couple of students 13 Q.  --- or both?
14 go off on you on an evaluation here and there. 14 A, ~--- the PA said.
15 But that's normal, right? ik Q. Okay.
16 A. It was okay. 16 A. The pulmonologist did not come up with a
1] Q. And overall the students were good? 17 final diagnosis.
18 A. Yes, 18 Q. Did the -- was this pulmonologist a he
19 Q. And liked you? 19 or a she?
20 A. Yes, 20 A, He.
21 Q. And you got along fine with Mr. Horne 21 Q. Okay. Did he come up with a preliminary
22 and Dr. Page and Dr. Geisen? 22 ~~ diagnosis?
23 A. Yes. 23 A. Don't remember.
24 Q. Okay. And with Cynthia McCoy? 24 Q. Do you remember when you went to see
25 A. Yes, 25 these healthcare providers?
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Ophelia Munn-Goins - Volume 1 Page 109
1 A, I saw one, a PA one time in May. And
2 the only way I know it was May is because I was in
3 the building by myself. Because I couldn't speak,
4 and I had someone watching out for me. The next
5 time I saw him I don't remember,
6 The pulmonologist I saw off and on from
7 2006, February 1 think, February-March time frame
8 until maybe three months, four months.
9 Q. So about the end of the semester
10 probably?
i A. Yes,
12 Q. Okay. So this would have been in late
13 '05 and the first part of '06 ---
14 A. And some ---
15 Q. --- that you were ---
16 A, --- of '04,
17 Q. And some of '04?
18 A. Some of '04 as well, yeah.
19 Q. Had you talked to anyone at the college
20 about this problem?
21 A. Yes,
22 Q. And who did you talk to?
23 A. I don't know if I talked to Kay or not,
24 but I'm sure I did to get the equipment, Lloyd
25. Horne, Cynthia McCoy, Lee Anne Bryan, and I'm sure
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| Ophelia Munn-Goins - Volume I Page 110
1 others.
2 Q. And again, I think you've already
3 testified to this, and I'm sorry to be asking it
4 again. Lee Anne Bryan is another faculty member?
5 A. Yes,
6 Q. Okay. So what did you tell Dr. Geisen
] and Mr. Horne and Cynthia McCoy and Lee Anne about
§ this problem that this one classroom was causing
9 you problems?
10 A. Office and classroom.
tl Q. Your office?
2 A. The office as well because of the carpet
13 because I wanted it removed. And I was promised
i that it would be removed, but it never was. But I
15 didn't spend a whole lot of time in my office. I
16 spent most of it in the classroom, so I was given
17 a breathing machine, a machine -- an air quality
18 -- air purifier machine.
19 Q. Okay. ‘In the classroom?
2) A. Yes.
21 Q. Did the classroom have the same kind of
22 carpet as ---
23 A. No carpet ---
24 Q. --- the office?
25 A. There something with the mold -- there
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1 was mold in the building in the -- from rain and
2 wet -- dampness in the building.

3 Q. And what building would that have been?
4 A. Seventeen.

5 Q. And do you remember the number of your
6 classroom? I guess there was a room number?

] A, Yeah. Maybe one -- or I don't know,

8  100-something. I don't ---

9 Q. One hundred and something?

10° =A, == know if it was 101 or 104.

ll Q. Okay. How about -- did your office have
12a room number?

13 A. It did, I don't remember.

14 Q. When you -- among the college people,

15s Dr. Geisen, Lloyd Horne, Cynthia McCoy, and Lee
16 Anne -- I mean, when you talked to Lee Ann about
17 it, would that be more as a friend?

 

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18 A, Uh-huh (yes), just talking.

19 Q. That wouldn't be an official complaint

20 ~—s to the school, right?

21 A. Right.

22 Q. Because she wasn't in a position of

23. — authority?

24 A. She was like a lead. But, no.

25 Q. Okay. Now, when you went to Dr. Geisen,
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Lloyd Horne, or Cynthia McCoy, was that more --
that was more like making a formal -- I hate to
use the word "complaint" because I don't mean you
were necessarily complaining, but you were
officially putting the school on notice that there
was a problem.

A. I don't know. I guess I was.

Q. Okay.

A. Imean, I told then.
10 Q. Okay. And you would expect them to
11 possibly do something about it if there was
12 something that could be done about it, right?
13 A. Yes,
14 Q. With Lee Anne, you might not -- that
15 would be more just talking?

COST On em Ww md Pe

‘Oo

16 A. Well, she had the same issue.

i] Q. Oh, she ---

18 A, She had a ---

19 Q. --+ did too?

20 A, --- problem breathing with her lungs as

21 well. She was experiencing problems.

22 Q. Okay. And you had never had any

23 problems with this from 2002 to 2004?

24 A. No.

25 Q. And then in 2004 you started having
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| Ophelia Munn-Goins - Volume I
1 trouble?

2 A. Yes,

3 Q. Was new carpet put in in 2004?

4 A. No. I moved I think. They moved me
5 from 2003 into that place in 2004 I believe.
6

7

§

Q. Okay.
A. I don't know.
Q. Okay.
J A, Something like...
10 Q. Okay.
11 A. But I was always -- mostly I started

12 spending more time in that classroom in 2000 --
13. late 2003 I believe.

id Q. Okay. And did your office change?

15 A. It changed in 2003 as well,

16 Q. Okay. And the problem started in 2004?
iv A. Four,

18 Q. Okay. And was new carpet put in in 2004
19 in ===

20 A. No,

21 Q. --- your office? Okay.

22 A. Old carpet.

23 (0ff-record comments}

24 Q. Do you remember what you told Kay Geisen

25 about the problem with the air quality?
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Q: Do you remember, essentially more or
less in substance, telling them that you were
9 having respiratory problems in those rooms?

10 A. Yes.

i Q. And you wanted them to remove the carpet
12 from your office?

13 A. Yes.

id Q. Okay. Did you ask for anything else in

5 addition to getting rid of the carpet?

16 A. Yes,

17 Q. What else?

18 A. I asked for the air purifier for the
19 classroom.

20 Q. Okay. And was that something you

21 requested right off the bat when you talked to

22 either Dr. Geisen, Mr. Horne, or Cynthia McCoy?

23 A. No. No.

24 Q. Okay. Do you know whether Lee Anne

25 Bryan had made a complaint to any of those people?
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—— PAGE 114
Ophelia Munn-Goins - Volume I Page 114
1 A. No.
2 Q. Okay. Do you remember what you told
3 Lloyd Horn about it?
4 A. No.
5 Q. -Okay. How about Cindy McCoy?
6 A. No.
7
8

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Ophelia Munn-Goins - Volume I

1 A. Yes, she had. And yes, she did get a

2 breathing machine -- I mean, an air purifier

3 machine in her office as well.

4 Q. Do you know whether any kind of study

5 was done?

6 A. Yes.

] Q. About the air -- okay. The school did a
8 study of the air quality after getting your

9 complaint?

10 A, I'm not sure if it was after ---

il Q. Or your concern?

12 A. I'm not sure if it was after my concern,

13 but, yes, they did do one.
14 Q. They did eventually do one. And do you
15 know what the findings were?

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16 A. Yes. They found several spores.
7 Q. And how did you learn that?
18 A. I received a copy of the report.
19 Q. And did-you get that from the school?
20 A. From Lloyd Horne.
21 Q. Okay.
22 (Off record)
23 Q. (Ms. Shea} And your recollection is
24 that the report found several spores?
25 A. Yes,
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Ophelia Munn-Goins - Volume I Page 116
1 Q. Okay. Do you remember whether the
2 report had a conclusion?
3 A. I don't remember.
4 Q. Okay. Would it be your understanding
5 that probably a certain number of spores would be
6 expected in normal air?
7 A. I don't...
§ Q. Okay. Do you -- you don't remember
9 whether the report concluded, you know, there are
10 spores in the air; this is normal level, or there
ih are spores in the air, and this is an abnormal
12 level?
13 A. Ido remember some show abnormal levels,
14 and I do remember it gave a recommendation how to
15 clean it. But I don't know if that was the
16 conclusion.
1] Q. Okay. Do you remember what the
18 recommendation was about how to clean it?
19 A. No.
20 Q. And so the conclusion of this was that
21 you were given an air purifier in your classroom?
22 A. Yes,
23 Q. Was the carpet ever removed from your
24 office?
25 A. No.
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1 Q. Okay. Once you got the air purifier in
2 your classroom, did that resolve the problem?

3 A, Not totally, no.

4 Q. Was that problem ever resolved to your
5 satisfaction?

6 A. I'm not sure what you're asking.

7 Q. Did you continue to have problems until
8 the time you left the school forever in 2007?

9 A. 1 continued to have problems speaking

10 sometime in the classroom, but not like I did
11s then. No.

12 Q. Okay. Did you ever tell Mr. Horne or
13 anyone that you were going to take legal action
14 against the school if they didn't resolve that

 

 

15 problem?
16 A. No.
1 Q. Have you ever been a party to a lawsuit
18 other than this one?
19 A. On my own?
20 Q. First, I'l] ask you on your own.
21 A. No.
22 Q. Okay. You were a party to a lawsuit in
23 connection with an organization, right?
24 A. Yes,
25 Q. According to some responses that we
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1 received today from your attorney.

2 A. Yes,

3 Q. Can you tell me about that lawsuit? And
4 first, tell me who the plaintiff was.

5 A. Iwas the plaintiff on behalf of Bladen
6 County Enterprises, Inc.

7 Q. Okay. Now, Bladen County Enterprises,
8 Inc., that was not one of the organizations you

9 listed ---

10 A. I forgot ---

i Q. --~ earlier today.

12 A. --~ about that one.

B Q. Okay, this is an additional one. Okay.

 

i And what is that organization? ld Q. Okay. And what is Corinthian Place?
15 A. Investment, investment group. 5 A, Long-term care facility.
16 Q. Can you be more specific? 16 Q. And where is it?
i] A. That's all they do. They invest in 7 A. Leland.
18 property, money. That's it. That's all. 18 Q. And I guess it doesn't exist anymore?
19 Q. Is it a for profit? 19 A. No, it does,
20) A. Yes. 20 Q. It does?
21 Q. So this entity buys real property and 21 A. There was a bankruptcy.
22 then resells it? 22 Q. Okay, so it was a reorganization?
23 A. They could, or they buy, yeah. CDs, 23 A. I don't know what happened to it.
24 stock market, whatever. 24 Q. Okay. Which county was the lawsuit
25 Q. Do they rent property? 25 ‘filed in?
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Ophelia Munn-Goins - Volume I Page 119
1 A. No.
2 Q. So it's only turning it around?
3 A. Yes.
4 Q. Okay. And are you on the board of
5 directors of this organization?
6 A. Yes.
7 Q. Who else is on it?
8 A. Horace Munn.
9 Q. Horace Munn, is that your brother?
10 A. Yes,
ll Q. Okay.
12 A. Leisha Brown.
3 Q. Leisha?
14 A, I-e-i-s-h-a Brown, That's it.
ib Q. That's it, okay. And who's Ms. Brown?
16 A, Sister.
7 Q. Your sister?
18 A. Yes,
19 Q. Okay. And are you the president?
20 A. Yes.
21 Q. Okay. All right. And when was that
22 organization incorporated?
23 A, 1986.
2e Q. Was that established by your father
2). ~—« initially?
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—— PAGE 120
Ophelia Munn-Goins - Volume I Page 120
1 A. Yes,
2 Q. Okay. Well, what was the dispute?
3 A. Corinthian Place needed some money in a
4 hurry. They needed some investors, They came to
5 the organization and asked if we wanted to be
6 investors. The group agreed, but first they had
7 to do some research on their financial status and
§ their issues, why they need the money.
J Corinthian Place Party agreed to pay the

10 legal fees for the review and then filed

11 bankruptcy before the money was transferred. And
12‘ the organization asked for the legal fees, the

13s payment of the legal fees. So small claims.

 

 

 

 

 

 

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Ophelia Munn-Goins - Volume I Page 121 Ophelia Munn-Goins - Volume I Page 123
1 A. Brunswick. 1 A. Yes,
2 Q. North Carolina? 2 Q. Okay. And then he remarried?
3 A. Yes, 3 A. Yes,
4 Q. And when was it filed? 4 Q. And who was his next wife?
9 A, September 2007. 5 A. Maggie Thomas.
6 Q. And has it been --- 6 Q. And is that the woman you're referring
7 A. Yes. 7 to?
8 Q. --- disposed of? 8 A. Yes,
y A. Yes. 5 Q. Who you had the dispute with?
10 Q. Okay. What was the resolution? 10 A. Yes,
11 A, That they filed bankruptcy. They had no 11 Q. Okay. Was your father ever married to
12. money to pay. 12 anybody else?
13 Q. Okay, so it's kind of dead? 13 A. No.
14 A. Basically. 14 Q. And Ms. Thomas was married to your
15 Q. So you filed the suit before they 15 father when he died?
16 actually had filed for bankruptcy? 16 A. Yes,
17 A, Before -- no, after. Didn't know they 17 Q. Is she still alive?
18 had filed for bankruptcy until then. 18 A. Yes.
19 Q. Okay. Had any litigation activity taken 19 Q. And where is she living now?
20 place before you found out that they had filed for 20 A, Leland.
21 _ bankruptcy? 21 Q. And what was the resolution of your
22 A. Nothing that they could -- I just 22 ~— father's estate? How did the dispute get
23 followed through with it anyway. 23 resolved, if you remember?
24 Q. Okay. 24 A, She had to return property. We had to
25 A. And then the estate, my father's estate. 2) return property. We had to pay her so much money,
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| Ophelia Munn-Goins - Volume I Page 122 | Ophelia Munn-Goins - Volume I Page 124
1 Q. And you were the administrator? | and no one could sue each other.
2 A. Yes, 2 Q. Okay, In other words, you've settled
3 Q. Or the executor? 3 it?
4 A. Executor. 4 A. Yes.
5 Q. He had a will? 3 Q. Okay. Did you have an attorney?
6 A. Executrix. Yes, 6 A. Yes,
7 Q. Were there any disputes about your 7 Q. And who was your attorney?
8 father's estate? 8 A. Ruben Moore.
9 A, Yes, 5 Q. Can you spell that?
10 Q. With your siblings? 10 A. Reu-b-e-n,
11 A. No, His wife. 1 Q. And where is he?
2 Q. Oh, okay. Was his wife your mother? 12 A. I don't know where he is now. He was in
13 A. No. His wife --- 13. Elizabethtown,
id Q. He remarried later? ld Q. Okay.
15 A, (No audible response) 15 A. He's has since -- since retired.
16 (Off-record comments) 16 Q. He's still living?
1] A. Yes. His wife. Y A. I don't know. And David Wall. We had
18 Q. What is your mother's name? 18 two attorneys.
19 A. Eva Munn. 19 Q. And where is Mr. Wall?
20 Q. Is she still alive? 20 A. Elizabethtown,
21 A. No. By 21 Q. Is he still in practice?
22 Q. When did she die? 22 A. Yes,
23 AL N76, 23 Q. And then who represented your step-
24 Q. Was she married to your father until she 24 ~~ moher?
2) ~— died? 25 A, Gary Grady.
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1 Q. And is Mr. Grady the attorney for the
2 Board of Trustees?
3 A. Yes, he is.
4 Q. Okay. Do you remember as part of that
5 settlement having any kind of confidentiality
6 agreement?
7 A. Yes,
8 Q. Are you under a confidentiality ---
J A. I think so, I think so. I don't
10 remember -- quite remember what happened.
il Q. You might be?
2 A. Yes,
13 Q. Okay. I won't ask you anymore questions
14 about it just in case. Well, let me ask you one.
15 ‘This won't breach the confidentiality agreement.
16 What county was that ---
1] A, Bladen.
18 Q. And if you would, please let me finish
19 my question,
20 A, I apologize,
21 Q. Okay.
22 MR. GRESHAM: See, we think you
23 know more about Eastern North Carolina geography.
24 ~~ When she said it was in Elizabethtown, that's
2) where the courthouse ---
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et
—— PAGE 126

 

Ophelia Munn-Goins - Volume I Page 126
THE WITNESS:

MR. GRESHAM:

Yeah.
--- is for Bladen
County.
MS. SHEA: Oh, I should have known
that, shouldn't I? Yes.
MR, GRESHAM: I know you travel a
lot,
Q. (Ms. Shea) Okay. Any other legal
9 proceedings you've ever been involved in?

COIS On eS GW BD Fe

10 A. None that I can remember.
il Q. Okay. Have you ever filed a charge of
12 discrimination?
13 A. No, not that I remember,
ld Q. Okay. And I'm just throwing out names
15 to help you remember. You're familiar with the
16 Equal Employment Opportunity Commission?
iv A. Yes,
18 Q. You've never filed a charge with them to
19 your knowledge?
20 A, Not that I can remember.
21 Q. Okay. How about the U.S. Department of
22 ‘Labor?
23 A, Not that I can remember.
24 Q. How about Occupational Safety and Health
25 Administration?

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~—— PAGE 127

 

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A. Not that I remember,
Q. Okay.
MR. GRESHAM: When you're in the
Army, there are very few agencies that you can use
to sue your employer.
THE WITNESS:
(Off-record comments
MS, SHEA: Let's take a break,

Yeah,

co SS OF me GO BRO FO

g (Brief break)

10 Q. (Ms. Shea) Ms. Munn-Goins, during the
11 break did you think of anything you wanted to
12 change about your earlier testimony?
13 A. Yes,
ld Q. Okay.
15 A, One person's name that was a department
16 chair was Rebecca Jones.
1] Q. Thank you, okay. Thanks a lot. Was the
18 Bladen School Board in litigation against the ---
19 A. Oh.
20 Q. === county commissioners?
21 A. Forgot about that one.
22 Q. Okay. What was that all about?
23 A, ‘Trying to get additional funds for the
24 school, the schoo! system. And I'll give you a
25 second one.

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1 MR. GRESHAM: ‘Those would have been
2 in her official capacity as an ---

3 MS, SHEA: Right.

4 MR. GRESHAM: --- as an individual.
3 Q. (Ms. Shea) Right. That -- yes -- you
6 = did ---

] A, There were two.

8 Q. Okay.

9 A, There was one against the County
10 Commission, and there was one against Clarke
i Brother & Sons or Son & Sons, Some other company,
12 just litigation.
13 Q. And that was also in your official

14 capacity ---

5 A. Yeah.

16 Q. --- as a school board member? And what
iv was the nature of the dispute there?

18 A. Repairs that were not done at the

19 schools and subcontractors.
20 Q. Is the lawsuit against the Board of
21 Commissioners still pending?
22 A, No.

23 Q. Was it settled?

a4 A, Judge Manning made a ruling, so there
25 was a ruling.

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1 Q. Okay. Did you win? You, meaning the
2 school board?

3 A. I think both of them lost. Both the
4 commissions and the school board lost.

3 Q. Everybody lost, okay. Was that Judge
6 Howard Manning?

7 A. I think so.

8 Q. Okay. And the lawsuit against Clark
J Brothers, is that still going on?

10 A. They settled.

1 Q. And were both of those filed in Bladen

12 County, both of those lawsuits?
13 A. I don't know where the one against the
14 contractor is filed but the commissioners, yes.

15 Q. Okay. And that's all the litigation you
16 remember, right?

1] A. That's all I can remember.

18 Q. Okay. Now, I'm going to completely

19 change tracks here, and want to talk to you about
20 ‘this pay information that was available through

21. ——the college, faculty salary information.

22 A. Okay.

23 Q. Okay? I just wanted to warn you of that
24 because it's so different from what we've been

25 talking about. It's your understanding that

 

 

 

 

—— PAGE 131
Ophelia Munn-Goins - Volume I Page 131
1 request to?
2 A. Rosemary Crumb.
3 Q. Crumb or Crump?
4 A. C-r-u-m-b.
5 Q. Crumb. Okay, and what was her position
6 at the time if you know?
7 A. She worked in personnel. I mean, I
8 don't know,
J Q. So she was an HR person?
10 A. Yes,
i Q. Okay. And did you -- what you pay her a
12. ~— dollar that year?
3 A. Yes,
14 Q. And then she gave you the information?
15 A. Yes.
16 Q. Okay. What did you do with that

iv information when you got it?

18 A. Shared it with others who wanted it.

19 Q. Okay. And who were the people you

20 ~— shared it with?

21 A, ee Anne Bryan and that year I think she
22 was the only one.

23 Q. Do you have any idea why Lee Anne Bryan

24 wouldn't have gotten it herself the way you did?
29 A. No.

 

 

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Se eee eee enna eens
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] faculty pay information is publicly available, 1 Q. Okay. She didn't give you a reason for
2 right? 2 that?
3 A. Yes, 3 A. No.
4 Q. Okay. And you can request that 4 Q. Did she ask to see it, or did you offer
5 information from the school, right? 5 it to her?
6 A. Yes, 6 A. I don't remember.
7 Q. And it's your understanding you have the ] Q. Okay. And then in 2002 you did it
8 right to that information, correct? § again?
9 A. Correct. 9 MR. GRESHAM: 2002 or ---
10 Q. Okay. And you requested that several 10 MS, SHEA: Or I'm sorry. Thank
11 years, is that right? 11 you.
12 A. Correct. 12 Q. (Ms. Shea) 2003?
3 Q. Did you request it every year that you 13 A. Yes,
14s taught at Bladen Commmnity College? 14 Q. You made the same request in -- was it
15 A. Yes. 15 to Ms. Crumb again?
16 Q. Starting in 2002? 16 A. Yes.
7 A. Yes. 7 Q. And was she still in the same position
18 Q. Okay. And was it given to you every 18 as far as you know at that time?
19-year? 19 A. Yes,
20 A. Yes, 20 Q. Okay. And she gave it to you?
21 Q. And you paid a fairly small fee to the 21 A. Yes,
22 school, and then they would give you the 22 Q. You paid a dollar?
23 information? 23 A. I don't know how much I paid. I paid.
24 A. Yes. 24 Q. That's the ballpark anyway?
25 Q. Okay. In 2002 who did you make that 25 A. Yes.
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Ophelia Munn-Goins - Volume I Page 133 Ophelia Munn-Goins - Volume I Page 135
1 Q. Adollar is in the ballpark? Okay. And 1 Q. Okay. And I should -- in 2002, 2003,
2 did you share it with other employees in 2003? 2 2004, you shared it with other -- at least one
3 A. Yes, 3 other individual, maybe multiple individuals?
4 Q. And do you remember who --- 4 A, Not in 2002 because I didn't really no
5 A. No. 5 anyone. That's why I don't think T only shared it
6 Q. Okay. 6 with the one person ---
] A. I know I shared it, but I don't know 7 A, Okay.
8 with whom. 8 Q. =-- in 2002.
9 Q. Okay. And if you don't remember who you 9 Q. In 2003 and 2004, you did share it with
10 shared it with, I assume you also don't remember 10 other people?
11 why they didn't just go get it themselves? it A. Yes.
12 A. Correct. 12 Q. Plural?
13 Q. Okay. 2004, you asked for it? 13 A, I-- I'm sure I did.
id A. I think I did. 14 Q. Okay. And there was no uproar about
1 Q. Okay. And I think, if I can find it 15 that, is that right?
16 here, I have a copy of a request that I think 16 A. No.
17 might have been your request in 2004. Let me see 1] Q. Did you get in trouble for asking for
18 if I can find that. 18 it?
19 (Ms. Shea examined document) 19 A. No.
20 (DEPOSITION EXHIBIT 20 Q. Okay. Then in 2005, did you ask for it
21 NUMBER FOUR WAS MARKED 21 again?
22 FOR IDENTIFICATION) 22 A. I'm probably sure I did.
23 Q. Okay. I'm going to hand you what's been 23 Q. Okay. And would that have been from Ms.
24 marked as Exhibit Four. Do you recognize that 24 Crumb?
25 document? 29 A. Ican't tell you. I don't know who was
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1 A. Yes. 1 there then.
2 Q. Is that your handwriting? 2 Q. Did she leave at some point around 2005
3 A. Yes. 3 or 2006?
4 Q. And is that a 2004 request for salary 4 A. Yes.
5 information? 5 Q. Okay. And at some point did those
6 A, Yes. 6 requests get referred to Mr. Horn?
7 Q. Okay. And I believe that was to 7 A. Yes.
8 somebody else, wasn't it? 8 Q. Okay. And that might have been 2005, or
9 A. It was Rosemary Crumb. 9 it might have been 2006? You just don't remember?
10 Q. Okay. 10 A. Yes,
i A, Pitkins is her last name. il Q. Okay, But in any event in 2005, you did
12 Q. Okay. And again, you reference a one 12 ask for the information from somebody; you got it;
13 ~— dollar fee --- 13. you might have shared it with some people. No big
ld A. Yeah. 14 deal, right?
1b Q. --- for the information? Okay. 15 A. Yes.
16 And in 2004 was Ms. Crumb still in human 16 Q. Okay. And then in 2006 Ms. Crumb was
1] resources --- 1] gone, right?
18 A. I think so, 18 A. I don't know,
19 Q. --- in the same job she'd been in? 19 Q. You don't know?
20 A, 1 think she was. 20 A. I don't know when she left.
21 Q. Okay. And did you share that 21 Q. Okay.
22 information with somebody else in 2004? 22 A. It's probably six because I think that
23 A, I'm sure I did. 23. --- yes. Because I sent it to the other person.
24 Q. Do you remember who? 24 Q. Tiina Mundy?
25 A. No. 25 A. Yes,
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Q. Okay.
MS. SHEA: And off the record.
(Off record}

 

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(DEPOSITION EXHIBIT
NUMBER FIVE WAS MARKED
FOR IDENTIFICATION)
Q. (Ms. Shea) Ms. Munn-Goins, I'm going to
hand you what's been marked as Exhibit Five, and
y it is not a very good copy. I apologize for that.
10 But do you recognize that document?

co SIS OO me G Ro Fe

1 A. Yes,
12 Q. Is that a request you made to Tiina
13 Mundy in 2006 for the pay information?
ld A. Yes.
1 Q. Okay. And now I see the fee has gone up
16 to $3. Is that correct?
1] A. Yes.
18 Q. Okay. Would Ms. Mundy be the one to
19 tell you that the fee had gone up?
20 A. Yes,
21 Q. And what's -- if you know, what's Ms.
22 Mundy's position?
23 A. I put personnel officer. I don't know.
24
25 Q. Personnel officer?
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1 A. That's what I put. I don't know what
2 she is.

3 Q. Okay. That was a guess on your part?

4 A. Yes.

5 Q. Okay. And this request is dated

6 February 21, 2006, is that right?

] A. It appears to be since I can't read it.
8 It's a lousy copy.

9 Q. It's not the best copy in the world,

10 I'm sorry about that. Can you take a look and see
il whether you can figure out what that date is?

12 A. It looks like February 20th,

13 MR. GRESHAM: Received Feb ---

14 THE WITNESS: --- That's up there.
15 So it's 22,600.

16 Q. (Ms. Shea) February 2006 anyway?

1] A. Yes.

18 Q. Okay.

19 MR. GRESHAM: Do you have something

20 that has this hand -- what the handwriting doodle
21s there is?

22 MS, SHEA: I do not. That is the
23 best copy I have.
24 MR. GRESHAM: We presume the school
25. May ---
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1 MS. SHEA: Presumably. Presumably.
2 Yes,
3 MR. GRESHAM: Okay.
4 Q. (Ms. Shea) Okay. When you asked for
5 the information from Ms. Mundy whenever you asked
6 for it, do you recall that it was handled
] differently from past occasions?
8 A. Yes.
9 Q. Okay, what was different?
10 A, She sent an email telling me that I had
11 to -- that Lloyd Horne, she forwarded an email
12 from Lloyd Horne saying I had to talk to Dr. Page
13 to get -- before it could be released.
14 Q. Okay. Did you ask her or anybody else
15 why you had to go through Dr. Page?
16 A. Yes.
iv Q. And what were you told?
18 A. That I had to ask Dr. Page.
19 Q. ‘That was ---
20 A. That Lloyd Horne said I had to ask Dr.
21 Page.
22 Q. Okay, so you asked, why do I have to do
23. ~—-it?’ And they said because Lloyd ---
24 A. Lloyd Horne ---
25 Q. <== said so.
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
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Ophelia Munn-Goins - Volune I Page 140
1 A, --- said to,
2 Q. Okay. And that was different from in
3 the past?
4 A. Yes.
. Q. Okay. And then did you make the request
6 through Mr, Horne -~ or through Dr. Page I guess?
7 A. Yes,
8 Q. Okay. Do you remember approximately
9 when you asked Dr. Page for that information?
10 A. Sometime that year, no.
i Q. Okay. You don't have an idea of how
12 mich time elapsed between your first request to
13 Ms, Mundy and then when you went to Dr. Page?
14 A. No.
b Q. Okay. What happened when you went to
16 see Dr. Page about it?
1] A. He asked me why, why I wanted it.
18 Q. Okay. And what did you tell him?
19 A. For personal reasons.
20 Q. Okay, And what did you mean by that?
21 A. For my personal use to do whatever I
22 choose to do with it. It's personal.
23 Q. Okay.
24 A. And I explained to him that other people
25 were applying for jobs, and that way I could at
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1 least give them a ballpark figure of what the
2 position would pay.

3 Q. You told Dr. Page that?

4 A. Yes,

3 Q. And what was his response?

6 A. He just said okay. That's all I

7 remember.

8 Q. He said okay?

9 A, (Witness moved head up and down)

10 Q. And then did you get the information?
11 A. A long time later. I had to keep asking

12 Lloyd Horne for it.
3 Q. Okay, you had to ask Lloyd Horne for it?
14 A, And eventually he gave me one sheet,

15 then a couple days later I found an envelope in my
16 box with another sheet. But I never received it
17 all, no.

18 Q. Okay. Did you ever have a discuss --

19 did you have any other discussions with Dr. Page
20 about the information except for the one you've
21 ~—s allready testified about?

 

 

22 A. Yes. When I got a reprimand for it.
23 Q. Okay. But not until then?
24 A, Right.
25 Q. Okay. So let's hold off on talking
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i about the reprimand for now.

2 Then you asked Dr. -- or you asked Mr.
3 Horne about it?

4 A. Yes.

5 Q. Okay. And do you remember every

6 conversation you had with Mr. Horne about it?

1 A. No, I don't remember every. But I

8 remember one or two.

g Q. Okay.

10 A. When I went to his office and asked him

11 for it and he said, well, what do you need it for?
12 And I said it's for personal use, and I was going

13s to share it with Felicia Williams. He said, well,
14 why don't you charge her for it? And I said, no,

1 I'n

16 not going to charge her for it.
1] give her a copy. That was it.

18 Q. Okay. So you told him that you were
19 going to share the information with Felicia

20 Williams?

T was going to

 

21 A. Yes.
22 Q. Okay. And that you were just going to
23. give her a copy of what you had?
24 A. Yes.
25 Q. Okay. And what was his response to
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1 that?

2 A. I should charge her.

3 Q. That you should charge Ms. Williams?

A. Yes.

5 Q. He thought you should charge her?

6 A. He said you should charge her for a

] copy. And I said, no, I'm just going to give her
8 a copy.

9 Q. Okay. And what did he say?

10 A. Nothing but laughed.

i Q. Just laughed. Okay. And do you

12 remember when that conversation took place?

13 A, Sometime in late March because I called
14 Sharon Coe in the office, and I was telling him
15 that people were afraid to ask for a copy, but it
16 was public information. He said they shouldn't be
17 afraid. And I said, but they are. And that's

18 when he told me I should charge Felicia.

19 Q. Okay. Do you remember any other

20 discussions with Mr. Horne about it?

21 A. Yes,

22 Q. Okay.

23 A. After the reprimand.

24 Q. No. Let's hold off on the reprimand. I

25 willl ask you about all that. I just don't want to

 

 

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1 right now. Any other conversations with Mr. Horne
2 before you got the information?

3 A. Yes. I asked him for it, and he didn't
4 give it tome. I had not received it.

5 Q. Okay. So first you had this ---

6 A. One page.

7 Q. --~ conversation -- excuse me.

8 A. Okay.

) Q. Let me finish. First you had the

10 conversation with him where you told him you

1 needed the information. You were going to share
12 it with Ms. Williams. He said you ought to charge
13 her for it. You said, no, I'm not going to do

14 that. And he laughed. And what? You left there
1 thinking you were going to get it?

16 A, Eventually.

YW Q. Okay. You felt like it was kind of a --
18 did you feel like it was a friendly conversation?
19 A. Yes.

20 Q. Okay. And then was there another

21 conversation with Mr. Horne before you actually

22 got the information?

23 A. Yes, When I asked him for it again.

24 Q. Okay. So you thought you were going to
25 get it when you left his office after that first

 

 

 

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—— SHEET 19
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conversation. You didn't get it. Then you went
back to ask for it again?

A, Yes,

Q. And was that in his office?

A. Yes,

Q. And about how long was that conversation

after the first conversation?

A, Maybe a couple weeks.

Q. Okay. And it was in his office?

A. Yes.

Q. And tell me everything you remember
about the second conversation.

A. I just remember asking, telling him that
I did not get it. And he said that he would get
it to me, and he gave me one sheet that day, only
one sheet.

Q. Okay. And was it a -- you're a computer
person, so you know what I'm talking about. Was
it an Excel spreadsheet?

A. Yes. Looked like one.

Q. Okay. And it. was one page?

A. Yes,

Q. And do you remember was it 8« by 11 or

A. I don't remember,
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1 Q. Do you remember? Okay.

2 A. I think 8« by 11, but I don't remember.
3 Q. Okay. Did it have names of faculty on
4 it?

3 A. Yes,

6 Q. And it had salaries?

7 A. Yes.

8 Q. Okay. But I take it from what you are
9 saying it didn't involve the faculty?

10 A. No. It didn't have staff or con ed.

It Q. Okay.

12 A. It only included faculty.

13 Q. Faculty only. What is con ed?

14 A. Continuing Education.

15 Q. And what is that as opposed to -- what

16 is a con ed position as opposed to a faculty

17 position?

18 A, Faculty are staff. I mean, instructors

19 with con ed are support personnel, administrative.

20 Q. Con ed is administrative?

21 A, GED, they handle GED. Things like that.

22 Q. Okay. So he didn't include that with

23 what he gave you?

24 A. Correct.

25 Q. Okay. And he didn't include staff like
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] secretaries?
2 A. None of theirs,
3 Q. Or them?
4 A, That's correct.
5 Q. Not Mr. Horne's salary or Dr. Page's
6 salary or Dr. Geisen's salary?
7 A. Correct.
§ Q. So upper administration was not included
9 on this list at all?
10 A. No staff, no executive management.
il Q. Okay.
12 A. And no staff.
13 Q. And no -- and con ed, you would include
i in staff?
1h A. Well, con ed is a separate department
16 basically, but then on the curriculum, on -- no
17 administrative staff were included at all. The
18 secretary, the janitor, none of them were included
19 -- were included,
20 Q. Okay. And what were you planning to do
21 —s with that information besides share it with Ms.
22 = Williams?
23 A. Well, I always share it with Lee Anne
24s Bryan. I use it -- Barbara Morrison was retiring.
25 ‘There was a guy looking for a job. So what I

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would normally do when people look for a job is
look at the salary range. I would not tell then
exactly what the person makes, but I'll say you
could probably get about whatever.

Q. Uh-huh (yes).

A. There was someone looking for a job, and
I was going to tell him,

Q. Who is the person looking for the job?

A, think it was Ronald Lloyd at that
time.

Q. Ron Lloyd?

A. Ronald Lloyd.

Q. Ronald Lloyd. And was he a friend of
yours?

A. Yes,

Q. Okay. How did you know Mr. Lloyd?

A. High school.

Q. And the lady who was leaving, what was
her name?

A. Barbara Morrison.

Q. And what was her position?

A, Political science instructor, history.

Q. Okay, so Mr. Lloyd was interested in Ms.
Morrison's job?

A, He was interested in a job.

 

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1 Q. Any job?
2 A. Yes,
3 Q. Or any job within reason?
4 A. Yes.
5 Q. Okay. And so you were going to share
6 this information with him so that he could decide
] whether this was a job he could support himself
8 with and, you know, make a decent living at?
J A. No. What I do is look at the scale and
10 then I was going to tell him about -- because,
il see, she had years, He couldn't get the same
12. amount because he didn't have 30 years, 25 years,
13. so there's no way. But you can look at the scale
i and see where someone has been there maybe two or
15 three years, like me and what he could qualify
16 for.
1] Q. Okay. But you knew what you made,
18 right?
19 A. Yes,
20 Q. So you needed the other people's
21 information, why?
22 A, I didn't say I needed it. I asked.
23 Q. Well, you wanted it, why?
24 A. For personal reasons.
25 Q. But you were going to use it to share
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
—— PAGE 150
Ophelia Munn-Goins - Volume I Page 150
1 with Mr. Lloyd?
2 A. Wo, not like that. No.
3 Q. You were going ---
4 A. I would never show that.
3 Q
6 A. I would never show him the schedule.
7 Q. Okay. You were not going to show him
§ names and salaries, but you were going to show him
9 -- you were going to use that information to tell
10 him, you know, you could expect probably somewhere
ia in
12 the ballpark of X-thousand dollars a year --
13 A, Yes,
14 Q. -- teaching at Bladen County with your
15 experience and your background?
16 A. Definitely.
iv Q. Okay. So the sheet Mr. Horne gave you,
18 wouldn't that have accomplished that purpose?
19 A. Yes,
20 Q. Because it was just faculty, and that's
21 what you were thinking Mr. Lloyd would want,
22 right?
23 A. Possibly, yes.
24 Q. Okay. But you were thinking he might
25 also want another type of position?
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—— PAGE 151
Ophelia Munn-Goins - Volume I Page 151
1 A. No.
2 Q. As far as the staff in the upper
3 administration positions, why did you want that?
4 A. Personal information, just personal to
9 know.
6 Q. Just so you'd know?
7 A, Yeah,
8 Q. Okay.
J A. It was public. That's why I wanted it

10 because it was public.

it Q. Okay. So you had the second

2 conversation with Mr. Horne, he gave you the one
13 sheet. Did you notice right then that it didn't
ld have everybody on it?

15 A. Yes.

16 Q. And did you tell him this isn't
17 complete?

18 A. Idon't remember if I did or not.

19 Q. Okay. Did you have any further
20 discussion at that time with Mr. Horne?

21 A. I don't remember,
22 Q. Okay. May have, may not have?
23 A. Yeah.
24 (Off-record comments)
25 A. Yes,
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
a
—__. - PAGE 152

 

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1 Q. Yes? Okay. Was that conversation with
2 Mr, Horne, as far as you were concerned, was it a
3 friendly conversation?

4 A. Yes,

5 Q. Okay. And then did you have any other

6 conversations with Mr. Horne before you actually

7 got the information in hand?

§ A. I don't remember.

9 Q. Okay. At some point, you said there was

10 an envelope in your box?

iv A. Yes,

2 Q. And that had the second page?

3 A. Idon't know if there was a second page,
14 but it had con ed information.

1b Q. Okay, did it also have upper executive
16 staff information?

17 A. No.

18 Q. But it did have all the con ed staff?
19 A. I don't know.

20 Q. Oh, okay. You don't know?

2l A. I didn't read it that well -- all of it,
22 so I don't know.

23 Q. Okay. But it was different from the

24 sheet you got from Mr. Lloyd in his office?
29 A. Yes,

 

 

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—— SHEET 20 PAGE 153
Ophelia Munn-Goins - Volume I Page 153
1 Q. And did you ever get any other sheets
2 than those two?
3 A. No.
4 Q. And when you got the second sheet, did
3 you get that sheet together with the first sheet
6 you had already received from Mr. Horne, the one
7 with the faculty information on it? Did you get
8 those two pages together?
J A. No.

10 Q. You never put them together?

11 A. I didn't get them together, no.

12 Q. I know you didn't -- excuse me. Did you

13 put: them together?

14 A. You mean staple them together?

15 Q. Or just have them side by --

16 A. Oh, I'm sure I did.

iv Q. Okay.

18 A. I'm sure.

19 Q. And then did you share those pages with

20 certain people?

2] A. Yes,

22 Q. Okay. And who were the people you

23 shared them with?

24 A, Felicia Williams, Lee Anne Bryan,

25 ‘Kenneth Oxendine.

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—— PAGE 154
Ophelia Munn-Goins - Volume I

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1 Q. And nobody else?

2 A. At the same time, Felicia Williams gave
3 a copy to Ella Joe Sellers.

4 Q. Okay.

5 (Off-record comments)

6 Q. Now, Felicia Williams, what is her

7 position?

8 A. Instructor at the time.

9 Q. Okay, what does she teach?
10 A. English. I think she's the chair. 1
1 don't know,
12 Q. And I can't remember if you told me
13s this, what is Ms. Bryan's position?
14 A. Accounting.
15 Q. In what?
16 A. Computer science.
1 (Off-record comments)
18 Q. And Mr. Oxendine?
19 A. He's one of the technical. I don't know
20 which one. He's technical.
21 Q. Is he a faculty member?
22 A. Yes,
23 Q. Okay. And how about Ms. Sellers?
24 A, She's English faculty.
29 Q. Okay. Can you tell me about -- when you

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—— PAGE 155
Ophelia Munn-Goins - Volume I Page 155
i shared this information with Ms. Williams, Ms.
2 Bryan, and Mr. Oxendine, were all four of you
3 together?
4 A. Yes.
3 Q. Where were you?
6 A. In ny office.
7 Q. Okay. Was this after hours?
8 A, No -- well, yes, it was. It was after
§ hours.
10 Q. Okay.
1h A. My work hours were over, yes.
12 Q. Approximately, what time of day was it?
13 A. 3:15-3:30, T think.
id Q. Okay. And did you call them in?
15 A. I called Felicia.
16 Q. Okay. How did Ms. Bryan and Mr.
iv Oxendine join you? How did they find out?
18 A. Ms, Bryan had already had a copy -- had
19 already given her a copy earlier.
20 Q. Okay. And how about Mr. Oxendine?
21 A, He said he overheard us talking in the
22 office, and he came back and asked for a copy.

   
  
   

23 Q. Okay.
24 A. His office is next door.
25 Q. So he heard you all talking, he said?

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—— PAGE 156
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1 Okay. And did you give them copies of it?

2 A. Yes,

3 Q. Okay. You didn't just show it to them,
4 you actually gave them their own copies?

5 A. I gave Felicia a copy, and then I gave
6 Kenneth Oxendine a copy.

] Q. Okay. Had you given Ms. Bryan a copy
§ before?

J A. Yes.

10 Q. Okay. So they all had actual copies in
i their hands?

12 A. No. Lee Anne Bryan did not. I had

13. given her a copy earlier on. I don't know when.
14 Q. Right, right. But all I'm saying is she
ik had a copy, right? She had possession of a copy?
16 A. Yes,

 

1] Q. Because you had given her one at some
18 ~— point?
19 A. Yes,
20 Q. Okay. And Ms. Sellers was not in that
21 Little conference in your ---
22 A. She ---
23 Q. --- office?
24 A, --~ was.
25 Q. Oh, she was?
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—— PAGE 157 —— PAGE 159
Ophelia Munn-Goins - Volume I Page 157 Ophelia Munn-Goins - Volume 1 Page 159
1 A, She was, but I didn't give her a copy. 1 A, Who else would I give a copy to?
2 Q. Oh okay. So you and Ms. Williams and 2 Q. Those were the only people you directly
3 Mr. Oxendine and Ms. Sellers were all in your 3 gave copies to?
4 office? 4 A. Those are the only people I gave a copy
5 A. Well, yes, or in my doorway, yes. 5 tO
6 Q. In the doorway? 6 Q. Directly?
7 A. Yes, 1 A. How do you give something indirectly?
8 Q. And you gave copies to -- directly to a 8 Q. Well, if you gave it to Ms. Williams and
9 Ms. Williams and to Mr. Oxendine, right? 9 then Ms. Williams gave it to Ms. Sellers, it
10 A. Yes, 10 ultimately came from you, right?
11 Q. And you had previously given a copy in A. So you mean indirectly giving it to Ella
2 directly to Ms. Bryan, right? 12. Joe?
13 A. Yes, 13 Q. Imean, there -- it's possible it could
14 Q. And Ms. Williams gave her copy? 14 have been indirectly given to other people,
15 A. A copy. 15 correct, either with or without your knowledge?
16 Q. 80 she had two copies? j 16 A. Possible, yes.
iv A. I don't know if she made a copy then or 1] Q. Okay. But those were the only people
18 what, but she passed it to Ella Joe. 18 you knew about?
19 Q. Okay. But that was all done in your 19 A. Yes,
20 office while you were there? 20 Q. Okay. Do you remember approximately how
al A. In the hallway. 21 ~—s long it was -- from the day you had the little
22 Q. In the hall -- or yes. Okay. And do 22 ~~ gathering in your office or your doorway or the
23 —s- you remember approximately what date that was? 23 hallway where you handed out these copies how long
24 A. No. 24 it was from that time until you got a phone call
25 Q. Was it April of 2006? 25 telling
11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY j 11-05-08 Munn-Goins vs. Bladen\7:08CV21 COPY
—— PAGE 158 — PAGE 160
Ophelia Munn-Goins - Volume I Page 158 Ophelia Munn-Goins - Volume I Page 160
1 A. I think it was, 1: you that somebody had put information in
2 Q. Did you give out copies to anybody else 2 mailboxes?
3 at any time? 3 A. I never received a phone call.
4 A. Not that I can remember. 4
3 Q. Okay, you might have? 5 Q. Okay, you never knew that?
6 A. Could have. 6 A, The next morning I think it was either
7 Q. Okay. 7 Lee Anne or Cynthia McCoy told me that they were
§ A. But I doubt it. § placed in the mailbox. I said, oh, I'm going to
J Q. Whenever you did give out copies, would 9 go see if they put one in my mailbox. And I went
10 you have handed them directly to the person? 10 over, there was not one in my mailbox. I saw Kay
11 A. Yes, 11 Geisen that
12 Q. You didn't put them in people's 12 morning, and she said she did not want to talk
13 mailboxes or --- 13. about it. That she had gotten a call about it.
i A. No. 4 That's all I know,
15 Q. --- on their desks, is that right? 1) Q. Okay. So nobody called you at home ---
16 A. Yes. 16 A. No.
iv Q. Okay. So if you gave it to more people 1 Q. --- and told you -- can I finish ny
18 than just these people we've identified, you 18 question?
19 would've handed it directly to them? 19 Nobody called you at your home and told
20 A. I know I gave a copy to Felicia 20 ~—- you the faculty pay information had been put in
21 Williams, Lee Anne Bryan, Kenneth Oxendine. No 21 the mailboxes?
22 other person I gave a copy to. 22 A. No.
23 Q. Oh, okay. You'ze sure of that? 23 Q. Okay. You didn't know that until you
24 A. Yes, 24 ~~ came to work that day, whatever day it was?
25 Okay. 25 A. Yes,
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—_- SHEET 21 PAGE 161
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1 Q. Okay. Does April 27th sound right to

2 —- you, April 27th, 2006?

3 A. If I look at a calendar, but I can't

4 tell you if that was the day or not.

4 Q. Does that sound approximately like when
6 it would've happened, late April of 2006?

7 A. It was probably April 2006, yes.

8 Q. Okay. So you came to work on whatever
9 morning this was, right?

10 A. Yes,

1 Q. And you didn't know anything had

12 happened, right?

13 A. Right.

4 Q. And you walked in and tell me what

15 happened first thing?

16 A, Nothing happened first thing. I went to
17 my class. I did what I normally do. 1 was

18 scheduled ---

19 Q. You just taught your class?

20 A. Well, I don't know what time it was, so
21 —- I can't say that it was before my first class or
22 my second class. And then I can't tell you what
23 day of the week it was on because it would depend
24 upon what time I came in, 1 don't know that

25 without looking at a calendar, and -- and I don't

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buzzing and talking going on among the faculty or
the eeploreet?

No, I'm in the building with three other

 

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Q. Okay. So it was quiet?
A. Yeah.
Q. Okay. And you might have taught a
class?
9 A. Yes,
10 Q. Was there a time later in the day that
11 you realized this was more of a problem than you
12. thought originally?
13 A. I never saw it as a problem, period.
i4 Q. Did you ever see any signs that it was a
15 problem for other people?
16 A. No -- oh yeah, Dr. Geisen appeared like
17 it was a problem to her.
18 Q. Okay. When did you first see Dr. Geisen
19 that day?
20 A, That morning when I went over to see if
21 a copy was in my mailbox.
22 Q. Okay. And about what time was that?
23 A. I think it was like ten, but I don't
24 know.
25 Q. Okay. Roughly...
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—— PAGE 162
Ophelia Munn-Goins - Volume I Page 162
1 remember -- I think it was Lee Anne who said that
2 it could have been Cynthia. One of them told me
3 aon
4 Q. Well, yes, but I want to back you way
5 up. Because I want to know -- you walked in the
6 door on whatever day this was. It was a big day,
7 right?
8 A. Not to me.
g Q. It wasn't to you?
10 A. No.
il Q. Okay. So you walked in, you heard from
12 somebody that information had been put in
13 mailboxes?
i A. Yes.
15 Q. Okay. Who did you hear that from?
16 A. I don't know if it was Lee Anne or
17 Cynthia. Someone I saw that morning.
18 Q. Someone told you?
19 A, But it was not significant to me so.
20 Q. Okay ---
21 A. I didn't ---
22 Q. Did the person who told you seem
23 concerned at all?
24 A. No.
25 Q. Okay. Were you noticing a lot of
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I

1 A. It was morning,
2 Q. Mid-morning? Okay, And when you went
3 over there Dr. Geisen was there?
4 A. Yes.
5 Q. And she seemed upset?
6 A. Yes,
7 Q. Okay. Did she seem angry?
8 A. Well, the way she's looking now. I
9 don't know if that's anger.
10 Q. For the record, I don't know what that
11s means.
12 A. 1 don't either,
13 MR. GRESHAM: Well, let's see. Ms,
14 -- Dr. Geisen has her arms folded and is -- there
15 you
16 go,
1] THE WITNESS: TI can't tell you.
18 Q. (Ms. Shea) Was her face red?
19 A. No.
20 Q. Was she yelling?
21 A. No.
22 Q. Did she have tears in her eyes?
23 A. No.
24 Q. Was her voice shaking?
25 A. No,
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1 Q. Okay. Was she ~~ Did you discern she
2 was upset because of what she said versus the way
3 she acted or looked?
4 A, I think it was the way she did her hands
9 like -- something like -- I don't know what -she
6 did that morning. I saw her, and she said
7 something about she is going to get to the bottom
8 of this. She made some comment.
J Q. She said something about wanting to get
10 to the bottom of this?
ia A, She made some comment.
12 Q. Okay. And that wasn't a very warm and
13. fuzzy comment, right?
14 A. No, it was not.
ik Q. That she was going to get to the bottom
16 of something. Okay. And you -- for the record,
y you were showing your hands being spread out and
18 that was the way Dr. Geisen's hands were?
19 A. No, t was down though. Her hands were
20 ~~ down. They weren't up here. They were like down
21s Like that.
22 Q. Okay.
23 A. Yes.
24 Q. But were her fingers apart?
25 A, Fingers were apart.
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A. Yeah.
Q. And did you know what she was talking
about?
A. No, not -- I thought I knew what she was
9 talking about because when I looked for a copy in
10 my mailbox and didn't see it, I told her I said, I
11 —- Just came over to see if there was a copy in my
12 mailbox. So I assume that's what she was talking
13 about.
14 Q. Okay. So you thought she was talking
15 about the pay information being in people's
16 mailboxes?
1 A. Yes,
18 Q. Okay, And did she say anything back to
19 you?
20 A. Other than that, no.
al Q. Were other people around?
22 A. There were two other people in the mail
23 room. I don't -- I think the one was Lucinda, and
24 I don't know who the other person was.
25 Q. Were they in a position to hear what was
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Q. On both hands?
A. If I remember correctly.
Q. And she said she was going to get to the

bottom of this?

 

 
   
  
   
   
 
    
  
   
    
  
   
  
  
    
    

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—— PAGE 167
Ophelia Munn-Goins - Volume I Page 167
going on?

A. Idon't know. My back was turned. I
mean, I just went in, came out.

Q. Okay.

A. And I saw her as I was leaving the
mailbox.

Q. So you don't remember any comments or
anything from them?

A. No.

Q. And you're not even sure they knew what
was going on?

A. Correct.

Q. Okay. And you had looked in your
mailbox and there was not a copy in your mailbox?

A. Correct.

Q. Okay. What was the next thing you heard
about this issue that day?

A. There was a meeting. I think that was
the same day. There was a meeting in the
conference ~- in the theater sometime that day.

Q. Okay. Was that in the afternoon?

A. I don't know,

Q. Okay. Was this a meeting called by Dr.
Geisen?

A. Yes, I think.

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—— PAGE 168
Ophelia Munn-Goins - Volume J Page 168

Q. And was it a meeting of all faculty and
staff?

A. I'm not sure because we had a meeting.
I'm not sure.

Q. Okay. Do you remember a lot of people
being there?

A. IT don't, no.

Q. Do you remember that there were hardly
any people there?

A. No. I know faculty was there.

Q. So when you say a lot of people, I
consider that faculty, staff, and everybody. But
if you remember all faculty was there, probably
all faculty. And that's less -- there was
probably 30-some people.

Q. Okay. So at least 30-some people were
there?

A. I think so.

Q. Okay. And can you tell me everything
you remember about what was said at that meeting?

A. No. I don't remember,

Q. You don't remember anything?

A, No,

Q. Okay. Nothing?

A. No.

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—— SHEET 22 PAGE 169
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1 Q. How long was the meeting, if you

2 remember?

3 A. In my head I'm mixing a couple of

4 meetings together, so I'm not sure. Unless I look
5 at something physically to see the date to see

6 something, I can't recollect because I'm thinking
7 about the meeting that everyone attended in the

8 —_ auditoriun. '
9 But Dr. Page I think called that

10 meeting, so I'm not sure, And he talked about the
11 pay scale. That it was public information, and

12 they didn't cause some hardship -- or hard

13 feelings with somebody. He didn't say who.

14 Q. Okay.

15 A. But I think that was a different

16 — meeting.

iv Q. Okay. So what you're saying is there

18 was one meeting with Dr. Geisen in charge?

19 A. Yes,

20 Q. And another meeting with Dr. Page in '
21 charge?

22 A. Yes,

23 Q. And you're not sure which was which, but
24 you believe that the meeting with Dr. Page had all
25 ~— faculty and staff there?

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| Ophelia Nunn-Goins - Volume I Page 170
1 A, Exactly.
2 Q. Okay. And the meeting with Dr. Geisen
3 might have been just all faculty?
4 A. Yes, I think.
5 Q. Okay.
6 A. ‘There might have been some con ed people
7 there, but I don't remember seeing.
§ Q. And in the meeting with Dr. Geisen, you
9 do not remember anything that was said?
10 A. I think that's the same meeting that she
11 said that it was public information and passed out
12. a sheet. But I don't know if that was the meeting
13 swith
i4 Dr. Page.
5 Q. Somebody said that at one of the two
16 matings.
1] A, Yes. So that might have been her
18 meeting, and they passed out a sheet showing it
19 was public information. So that may have been the
2) meeting she had. So both meetings came kind of
21 close.
22 Q. Okay. So at one of these meetings,
23 whoever was presiding over it, passed out a sheet
24 of paper saying that this was public information?
25 A. Yes.

 

 

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1 Q. And that people had a right to it?

2 A. Yes,

3 Q. Okay. Was that being passed out because
4 there was a -- were people upset at either of

3 these meetings?

6 A. I didn't see anyone upset. I didn't see
7 anyone upset. She did say that people were upset
8 at that meeting and said she was going to do an

9 investigation.

10 Q. Okay.

11 A. In her meeting.

12 Q. And that's Dr. Geisen ---

13 A. In her meeting.

14 Q. --- you're talking about?

1) A. Yes,

16 Q. Okay. The meeting with Dr. Page was

1] later?

18 A. Yeah, it was later.

19 Q. Okay. And do you have any idea how much
20 later?

21 A. No.

22 Q. Okay. So as far as Dr. Geisen's meeting
23. is concerned, you believe just faculty were there.
24 You believe she passed out something indicating

25 that this pay information was public?

 

 

 

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| Ophelia Munn-Goins - Volume I Page 172
1 A. Yes,
2 Q. And you recall her saying that people
3 were upset that information -- I mean, did you
4 have the impression that information had been
5 given out to everybody at the school?
6 A. No.
1 Q. You did not have that impression?
8 A. No.
y Q. Okay. Did you ever get that impression
10 at some later point?
11 A. No. Never
12 Q. You never had that impression?
13 A. No.
14 Q. Okay.
15 A, And it wasn't that she was upset about
16 the pay scale. Upset because something was
17 written on the pay scale. And I never saw it, so
18 I don't know what she was upset about.
19 Q. Okay. Was it said at either of these
20 meetings that somebody had written "unfair" and
21 “inequity is amazing" and things like that?
22 A. I've never heard inequity is amazing or
23. it was unfair, That was her meeting,
24 Q. Okay.
25 A, She mentioned that.
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Ophelia Munn-Goins - Volume I
1 Q. Okay.
2 A. About something that...
3 Q. Okay. Have you told me everything you
4 remember about Dr. Geisen's meeting?
3 A. Probably not, but I don't know which
6 meeting I'm referring to. See because I can't, in
7 my head, decipher which was one day, which was the
8 —sonext.

9 Q. Have you told me everything you remember
10 about Dr. Page's meeting?
11 A, I'm sure I didn't,
Iv Q. Okay. Then what I'd like -~ what you're
13 saying is the only way you can testify about what
14 went on in these meeting is to kind of do a
15 composite. Is that right?
16 A. No. What I'm telling you is, I -- I
17 can't see dates, I can't see the time frame. 1
18 know what happened those days. But if I can see a
19 date, I can tell you in her meeting people, left
20 ~~ out buzzing. I know that. I remember that.

val Q. People left Dr. Geisen's meeting
22 ~—«rbuzzing?

23 A, Buzzing.

24 Q. With each other?

25 A. Yeah.

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] Q. Talking about it?
2 A. And I -- I never saw anything written on
3 anything, so I don't know what she was referring
4 to.
5 Q. But she said that unfair was written on
6 something?
7 A, She did say unfair was written it. She
8 said comments. or somebody wrote on it, they said.
9 Q. Okay.
10 A. And put it -- it wasn't in every box and
11 said that she had received a phone call from
12. someone. I later found out ~- they said it was
13 Ann Russell. And then -- because I did make a
14 comment to somebody. Well, common sense would
15 have been to tell her take them out of the boxes
16 if it was an issue, That would have been my
17 spiel,
18 Q. ‘That was your thought?
19 A. Yeah. That was my thought. If it was
20 an issue, you know, take them out of the box.
21 People are at home, because I heard she received a
22 call that night at home.
23 Q. And you remember she said that there was
24 going to be an investigation ---
25 A. Yes.
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1 Q. --- as to who did that?

2 A. Yes.

3 Q. Okay. And anything else you remember?

4 And people were buzzing as they left the room?

5 A, Yeah, people were talking. Several

6 people talked. And then a couple days later

7 people are still talking and buzzing, And someone

8 came to talk to me, but I don't think it was that

9 day. I think it was the next day or a couple days
10 later.
1 Q. Okay. And then do you -- what all do
12 you remember about the meeting that Dr. Page
13. presided over?
14 A, He appeared to be upset, and he talked
15 about -- I think he reinforced that it was public
16 information, and it upset some people. I really
17 — didn't pay much attention. I apologize. I had
18 heard it. Dr. Geisen already told us about it,
19 and then his meeting he was reiterating the same
20. ~—s thing. I don't think the meeting was very long.
21 Q. Okay. Like 15 minutes?
22 A, Idon't remember. I just know that it
23 didn't appear to be long.

24 Q. Okay. Less than an hour?
25 A. Yes,
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1 Q. Okay. Less than half an hour?

2 A. Probably.

3 Q. Uh-huh (yes). And you've told me

4 everything you remember about either of these

) meetings even if you don't remember exactly which
6 meeting it occurred in?

7 A, Yes,

g Q. Okay. Do you remember anything else

9 related to this issue until you got called in to
1) be interviewed for the investigation?
1 A. Yes.
12 Q. Okay, what do you remember in between
13 there?
14 A, A lot of people coming to me talking to

15 me about it. I remember someone coming to me and
16 saying they think -- first, she said, well, I

17 might know who did it. I understand that they

18 know it was not me.

19 Q. Who said that?

20 A. Ella Joe Sellers. And I wanted her to
21 go see Dr. Page and tell him because she didn't
22 ~~ feel comfortable talking to Dr. Geisen. Because I
23 thought he was -- would listen to her and be

24 compassionate.

25 Q. And you did not tell anybody what Ella

 

 

 

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1 had said to you at that time?

2 A. No.

3 Q. Okay. Did anybody else come to you and
4 make comments like that?

5 A. No.

6 Q. Okay. Did Ella Joe Sellers in that

] first conversation where she said she put it in

8 mailboxes?

g A, She didn't tell me in the first

10 conversation.

il Q. She didn't say that. Okay. What did
12 she say?

13 A. She was just saying that 1f she knew who
14 did it, she wouldn't know what to do. Ad it

15 wasn't her, and she felt bad. It was on the

16 second conversation we had that she said, And I
17 told her if you know who did it, then just go tell
18 sD. Page.

19 Q. She said that if she knew who did it,

20 she wouldn't know what to do?

21 A. Right. If she knew, she wouldn't know
22 what to do.

23 Q. Okay. Did you have reason to believe
24 that Ms. Sellers was uncomfortable with Dr. Geisen
25 for some reason?

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1 A, Not really, it's just that I've known

2 Dr. Page longer, so I just...

3 Q. Okay. So it wasn't any disrespect to

A Dr. Geisen?

9 A. No.

6 Q. You just had known Dr. Page for a long

7 time and felt like he'd be understanding?

§ A. Yes,

9 Q. Okay. And you didn't take this anywhere
10 yourself?
11 A. No.
12 Q. This information? Okay. And then did
13 you talk to anybody else before you got called in
id for the interview?
15 A. Yes.
16 Q. Who else?
1] A. Cynthia McCoy, Lee Anne Bryan.
18 Different people talked about it, but everyone
19 that I talked to, I just mentioned to Cynthia what
20 = was said to me. And Ella Joe said she didn't
21 —s write on anything and put it in a box. Now, she
22 ~~ said she didn't write on
23 anything and put it in the box so that implies she
24 did not put it in the box is what I thought
25 ~~ initially.

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Q. Okay. So she did -- the first time you
talked to her, she denied writing anything on the
document?
A. She has always denied writing anything
on the document.
Q. Right, but did she deny it in that first
conversation with you?
A, Yeah. She said she didn't write
9 anything and put it in the box.

 

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10 Q. And so you took that to mean she hadn't
Il put it in the boxes either?
12 A, Right.
13 Q. Okay. And as far as Cynthia McCoy and
14 Ms. Bryan, what was the nature of your discussions
15 with them?
16 A. Just that, you know, anyone couldn't
17 have done it.
18 Q. They didn't say they had done it, right?
19 A. No.
20 Q. Is theze anybody else you remember
21 talking to before the investigation began?
22 A. Yeah, I'm sure I talked to Kenneth. I'm
23 sure. I don't -- I mean, what conversation I had
24 with him other than like we don't know who put it
25 in the box basically.
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1 Q. Okay. So all those conversations would
2 de just like we don't know who did it?

3 A, Right, and no one knew who wrote on it
4 or what was written on it other than that -- I

5 only know the one comment about something being
6 unfair.

] Q. Uh-huh (yes).

8 A. That was it.

9 Q. And as of this point you had never seen
10 the document that was found in the mailboxes,

ll right?

12 A, That's correct.

13 Q. Okay. Any other discussions with

id anybody before you were called in for your

15s interview?

16 A. Yeah, with Ella Joe.

17 Q. Another one with Ella Joe?

18 A, With Ella Joe.

19 Q. Okay. And tell me about that.

20 A. And she explained how bad she felt

21 ‘because she had put it in the box. But she never
22 put anything in the box with writing on it and a
23 couple of boxes only.

24 Q. This was before your interview?

25 A. Yes.

 

 

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